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             EXHIBIT N
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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


GIGI KAI ZI CHAN,

               Plaintiff,
                                                        C.A. NO.: 1:19-cv-11605
                       v.

WELLINGTON MANAGEMENT
COMPANY LLP and CHARLES ARGYLE

               Defendants.



                     DECLARATION OF PATRICK J. HANNON, ESQ.

       I, Patrick J. Hannon, hereby depose and state under penalty of perjury:

   1. I am over the age of 18 and am counsel for the Plaintiff in this matter.

   2. Attached hereto at Tab A through Tab 9 and Tab 11 through Tab 48 are true and accurate

       copies of documents produced in discovery by the Defendants in this matter

   3. Attached hereto as Tab 10 is a true and accurate copy of a document produced in

       discovery by the Plaintiff in this matter.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Executed this 1st day of April, 2021.

                                                            /s/ Patrick J. Hannon
                                                            Patrick J. Hannon
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                          TAB 1
                                                                                                    Interview Feedback Summary

               Candidate Name &
                  Requisition
                  Gigi Chan
               Requisition: 710461

                  Interviewer         Recommendation *        Interview Level      Interview Type      Interview Date                                                              Detail Comments

          Nicolas Choumenkovitch     Continue            1st Level Interview    In Person               03/07/2014      I liked her personality, she is outgoing which I think is a plus for foreign office. And her liberal arts background is also a plus in my
                                                                                                                        opinion and different from all the more narrow specialization we see out of Asia. I did not have time to go to deeply into her
                                                                                                                        analytical skills but at she seems to have an investment philosophy and to look at cash generation (not revenue growth) as a
                                                                                                                        metric to follow. Only concerns she talks a lot but does she listen


          Michael Carmen             Continue            1st Level Interview    In Person               03/07/2014      Somewhat mixed. She has some great experience and appears to be focused on stocks but she had a difficult time articulating her
                                                                                                                        views. I came away uncertain if she would be additive to our Asian research or whether she would be a great fit.


          Gregory Mattiko            Continue            1st Level Interview    In Person               03/07/2014      I knew Gigi from the time when she was at Threadneedle in London. We shared some company meetings together and I got to
                                                                                                                        know her a bit. I was impressed with her back in those days, and my opinion has not changed since interviewing her. I think she is
                                                                                                                        a good fit for wellington on a few levels. First, she has a very strong and positive attitude. She has an extrovert personality, is
                                                                                                                        opinionated, yet has a great sense of humor. I think she would be a great colleague to work with in this regard. Second, she is a
                                                                                                                        differentiated stock picker. She is not someone who is easily influenced by the market, rather someone who has the confidence
                                                                                                                        and conviction to build a view even if it is contrary to the market opinion. She has built a great amount of experience in good and
                                                                                                                        bad times. She launched her funds as the market was peaking, just before the GFC, and was able to navigate through that period
                                                                                                                        and come out well on the other side. I do not know her process or depth of knowledge well, but I have had enough exposure to her
                                                                                                                        to know that it is good. My only reservation might be that if she were in the wrong position she might end up getting
                                                                                                                        bored/frustrated though she claims not to.




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          Erin Murphy                Continue            1st Level Interview    In Person               03/07/2014      I was impressed with Gigi. She could articulate her investment edge, and she had a very compelling view on how to contextualize
                                                                                                                        investments given the macro/country backdrop. She has great energy! The downside to that energy is that she is a little all over the
                                                                                                                        place and her answers tended to be long winded. However, I think she could be a positive addition to the office in HK. Possibly a
                                                                                                                        fit with one of our global or EM teams. She seemed genuinely open to reverting to covering Asia more broadly rather than focusing
                                                                                                                        specifically on China as she has in her recent role.


          Jean-Marc Berteaux         Continue            1st Level Interview    In Person               03/07/2014      I was pleasantly surprised with Gigi. She has a very quick mind, and is able to make broad links and comparisons accross
                                                                                                                        companies, industries, sectors, and cultures. I see her more as a PM than a team analyst, but I can also see her starting out on a
                                                                                                                        team. She has a longer term view on how to invest, which would probably continue to be sucessful on a chinese or pan-asian
                                                                                                                        product.

                                                                                                                        While she is very lively, she can come across as a bit disorganized, but I think that would be a perfect foil for some of the very
                                                                                                                        solid, focused investors we already have in region. She would certainly draw them out for discussions.


          Steven Angeli              Do not Continue     1st Level Interview    In Person               03/07/2014      Great background, smart, and seems like a good cultural fit. But she couldn't communicate what made her a differentiated
                                                                                                                        investor. Overall, I found her communication to be very animated and long-winded. On the one hand she said she was a long
                                                                                                                        term investor, but it seems her China fund turnover was mostly over 100% during her tenure.
                                                                                                                                                                                                                                                                    Case 1:19-cv-11605-WGY Document 68-3 Filed 04/01/21 Page 4 of 170




DEF 00029083
          Kenneth Abrams   Continue   3rd Level Interview   Panel       03/27/2014   Hire GiGI.

                                                                                     first i think she would be a great cultural fit. very friendly, great english (obviously) and stayed at one firm her entire career. On
                                                                                     top of that she did the prep on the roundtable THE DAY AFTER HER WEDDING. I mean realy.

                                                                                     i thought the quality of the written work was superb. she was great on ENN her stock, thorough, had all the facts right, new what
                                                                                     the drivers were. Understood the strategic issues, market position and corporate governance issue.

                                                                                     I was very impressed with her work on CPALL. to have no knowledge and come up with a three page report, that was skeptical,
                                                                                     against the consensus and hit very key drivers... I left the meeting wanting to short the stock. great background and insight for me
                                                                                     on their lousy corporate governance.

                                                                                     clearly she was nervous in the meeting and the answers to direct questions could have been briefer and sharper. but i have done
                                                                                     40 or 50 of these round tables and i think that infrequent participants underestimate the incredible pressure this puts on
                                                                                     interviewees, to face 4 Wellington Partners.

                                                                                     so all things equal it was an 8.5 to 9 out of 10. i would hire her tomorrow




          Anita Killian    Continue   3rd Level Interview   Panel       03/27/2014   She did a good job in a stressful situation. I agreed with her on her stock conclusions. I think she would be a good cultural fit. I
                                                                                     couldn't believe she got married only 3 days ago and still managed to pull this off. Clearly, she is interested in us. I like that she
                                                                                     has all the requisite language skills, lots of experience, loyalty to her employer.... I say we hire her!


          Niraj Bhagwat    Continue   3rd Level Interview   Panel       3/27/2014    Solid thesis on both stocks, but came across as nervous. Didn’t answer my question directly. Reasonable investment insight, but I
                                                                                     would suggest meeting more people.
          Ray Helfer       Continue   3rd Level Interview   In Person   03/27/2014   I focused my discussion with Gigi Chan on the business aspects of Wellington across Asia Pacific as well as addressed her
                                                                                     questions on interaction between regional clients and our regional investment team. She was also quite interested in how we think
                                                                                     about talent development in Asia for both investors and client facing colleagues.

                                                                                     I found Ms. Chan to be very thoughtful and, perhaps based on so many interviews, quite informed on our firm. She came across
                                                                                     as high energy, very focused on investment content and collaboration.




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                                                                                     While all of this was good, it was clear to me that we need to give more clarity to Ms. Chan around the time between joining
                                                                                     Wellington and officially being a team analyst for a specific team. Her questions on this were not compensation related. She is
                                                                                     interested in things such as:
                                                                                     How will her impact be evaluated?
                                                                                     By whom will she be evaluated?
                                                                                     Who would champion her integration to the firm?
                                                                                     What is the process of actually joining a team?
                                                                                     What investment recommendation impact can she have between now and then?

                                                                                     Tom and I discussed this a bit this afternoon. In summary, I felt she was sold on the firm, but not quite on the job, at least not the
                                                                                     starting phase.
                                                                                                                                                                                                                              Case 1:19-cv-11605-WGY Document 68-3 Filed 04/01/21 Page 5 of 170




DEF 00029084
          Daniel Pozen      Continue   2nd Level Interview   In Person   04/03/2014   Positives:

                                                                                      Good cultural fit
                                                                                      Focused on investment fit rather than career track / job title
                                                                                      Articulate, won’t be shy about sharing / challenging ideas
                                                                                      Thoughtful about areas of success and challenge
                                                                                      Likely to take long-term perspective w respect to career

                                                                                      Negatives:

                                                                                      High growth, high quality / suspect she’d gravitate toward similar companies as Niraj and team
                                                                                      Talked about long-term investment perspective but 100% turnover

          Mark Mandel       Continue   2nd Level Interview   In Person   04/03/2014   Highly supportive

          John Boselli      Continue   2nd Level Interview   In Person   04/03/2014   Gigi is an extrovert, very expressive, happy, great communicator, experienced, good investment results, passionate.

                                                                                      I worry her process is scattered and unfocused, but her investment factors are reasonable. I wonder if she will continue working as
                                                                                      a PM if investment performance struggles for awhile. I would determine her commitment to the PM position long-term.



          Donald Kilbride   Continue   2nd Level Interview   In Person   04/03/2014   My conclusion is really mixed. If pushed, I’d say she should see more people. But I was not overly impressed.


          Charles Argyle    Continue   2nd Level Interview   In Person   04/03/2014   I am very glad we asked her to come in one more time (though I did thank her profusely for making the effort at such short notice).
                                                                                      I would have no problem backing her candidacy assuming the PMs and Analysts who met her today didn’t have major concerns
                                                                                      regarding her investment acumen and depth – we did not go deep on stocks. We did talk a lot about what she is looking for as she
                                                                                      thinks about the next stage of her career and I was impressed by her thought process: she talked a lot about developing any
                                                                                      investment philosophy and developing through working with more different investors – rather than the “thrown in the deep end”
                                                                                      experience at Threadneedle. She is excited by a role that has scope and experimentation: not concerned by the rotational aspect if
                                                                                      it comes to that. I asked her whether she sees herself as a China PM or something broader – she said the latter (her other offer is
                                                                                      to be a China PM). I asked her why she bothered coming up to Boston again with an offer in hand: “I am looking to make the right
                                                                                      choice that is sustainable and a lot at Wellington really resonates with me: it would be enabling rather than restricting”. On the
                                                                                      investment side, she described herself as being able to hold her nerve, dispassionate and not afraid to make decisions. She
                                                                                      asked very good questions.




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          Michael Masdea    Continue   2nd Level Interview   In Person   04/03/2014   Doesn't seem like a slam dunk, but definitely has potential.

                                                                                      Positives
                                                                                      * Culture is important to her
                                                                                      * Learns from/appreciates mistakes
                                                                                      * Motivated by the right things
                                                                                      * Big picture thinker

                                                                                      Negatives
                                                                                      * Long winded
                                                                                      * A tad arrogant
                                                                                      * Weak P&P
                                                                                                                                                                                                                            Case 1:19-cv-11605-WGY Document 68-3 Filed 04/01/21 Page 6 of 170




DEF 00029085
               Candidate Name &
                  Requisition
                  Gigi Chan
               Requisition: 721291

                  Interviewer         Recommendation *        Interview Level      Interview Type   Interview Date                                                            Detail Comments

          Thomas Baxter              Continue            1st Level Interview    In Person            01/27/2013      I had a mixed reaction overall to Gigi. She's a growth investor, looking for long term structural growth companies (Tencent, AAC).
                                                                                                                     She does a lot of her own primary research, and said she recently completed a research trip in China and has now visited each
                                                                                                                     and every province in the country. She was at her best talking about some of the insights she gains from research travel (e.g.
                                                                                                                     grass roots comments that help her gauge the rate of change in the political/regulatory situation). She was at her worst when
                                                                                                                     trying to identify/define her edge as a PM. I think she has potential as an analyst but ultimately is quite green as a PM despite the
                                                                                                                     6 year track record (they start them early at Threadneedle as junior/apprentice PMs). I think she'd need more seasoning to have
                                                                                                                     credibility as a PM and team leader here. I view her as more of a number 2.




          Henry Philip               Continue            1st Level Interview    In Person            01/29/2013      Gigi is a strong candidate - arrange to meet Charles and Tom. She comes across as quite 'young' in her approach, so I am not
                                                                                                                     clear as to whether she would have the gravitas we would look for in a standalone PM. Ultimately I think she will be successful, but
                                                                                                                     I wonder whether she would be better served starting as a Team Analyst...




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                          TAB 2
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        From:                   Duckworth, Cheryl M. [cmduckworth@wellington.com]
        Sent:                   Thursday, January 23, 2014 12:50:27 AM
        To:                     Baxter, Thomas W.; Argyle, Charles; Murphy, Erin K.
        Subject:                RE: Update with Ni
                                                       Redacted




        Perfect.   Didn’t realize that.


        From: Baxter, Thomas W.
        Sent: Thursday, January 23, 2014 1:11 PM
        To: Duckworth, Cheryl M.; Argyle, Charles; Murphy, Erin K.
        Subject: RE: Update with N Redacted

        Thanks for sharing Cheryl.     | think we’re all on the same page with regards to Bo; we actually changed her title recently
        from analyst to PM.


        From: Duckworth, Cheryl M.
        Sent: Thursday, January 23, 2014 9:58 AM
        To: Argyle, Charles; Murphy, Erin K.; Baxter, Thomas W.
        Subject: FW: Update with Ni
                                     Redacted




        Thought you would be interested in the comments below.                   | took out some of them which were just relevant to
        GIAs here.

        From: Cheryl M. Duckworth Redacted
        Sent: Thursday, January 23, 2014 9:50 AM
        To: Duckworth, Cheryl M.
        Subject: Update with N
                               Redacted




        He mentioned keeping Bo engaged. Felt we should make her the China PM - even though she might be average as a PM, she is so
        important to the office, to Vera's team and to our China efforts. Giving her a new title is a cheaper way to keep her. He is afraid she will
        leave.

        On MM, he things Thursday will become more of the anchor and is an advocate for moving his team to that day. ideally you could
        make that meeting 7:30 but i said that is probably a non-started. we discussed keeping MOnday at 7:30 so people had that as an
        option. the only concern was younger people hearing multiple views from multiple people if everyone is on different days. However,
        they can always listen to the replay.

        Wants to role off the Corporate Governance Committee.      Wants to ideally be on ERG1    or ERG2

        Sent from Evernole




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                          TAB 3
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        From:                       Hardy, Rebecca       [RHardy@wellington.com]
        Sent:                       Thursday, April 03, 2014 3:08:34 AM
        To:                         Baxter, Thomas W.; Argyle, Charles
        Subject:                    RE: Headcount

        I will just create a new one.


        From: Baxter, Thomas W.
        Sent: Thursday, April 03, 2014 02:02 AM Eastern Standard Time
        To: Argyle, Charles; Hardy, Rebecca
        Subject: RE: Headcount

        Thinking ahead for Gigi... if we end up making an offer we'll need a req #. We could just use the existing HK-
        based PM req for her — it’s easy in the sense that it already exists in the system and we will need a quick turn-
        around.      But HR is actively searching for that role so we’d need to backfill the req in the system in short order.
        Rebecca, any thoughts on what will work?              Thanks.



        From: Argyle, Charles
        Sent: Tuesday, April 01, 2014 2:05 AM
        To: Murphy, Erin K.; Pettirossi, Maureen H.; Baxter, Thomas W.; Burgess, Terrence M.; Scordato, Christine A.; Hardy,
        Rebecca
        Subject: Headcount

        Current Maximum Headcount for GEPM investment Professionals (excluding management team) is 126

        °             We are at 120 today with 5 known departures by 6/30, which will make it 115

                                                           Redacted          Redacted       Redacted
        °             We have 3 known additions          (B              S              B              bringing us to 118


        So 8 open positions left!
                                                                                                               Redacted
        °             2 of these are replacement positions on the Value Team (for J                                       and Diversified Growth (for
        S
          Redacted




        °             2 are opportunistic PM positions (in HK and London)


        4 left: here’s a potential list:


        °             EME team: do we need to replace M Redacted
                                           Redacted
        °             EME team: for Mu            coverage if he is to focus full time on PM responsibilities

        °             Quality Value: Global Resource

                                                              Redacted
        °             Growth Opps: Back-up PM for An                     on small cap
                                                                                                                           Redacted

        °             Japan team: one more resource in Tokyo — could be junior (perhaps S                                             via LAUNCH   in 2015)




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        °           Global Quality Growth: team analyst for Bo Redacted

        °           Opportunistic PM hire in Boston: still feels like we have a gap in “Eclectic Core”, especially in post
        SJP world
                                                                           Redacted
                                                                                          Redacted
        °           Commodities: help for Da                                          C

                                                           Redacted Redacted

        °           Back-up PM for J                             Oh

                        Redacted
        °           H                  has begun to ruminate on the need for a dedicated resource


        Also worth considering:


        °           Turnover likely on Small Cap Opps/Globa! Perspectives — we should expect at least one opening
        here though it will be a replacement


        °          Do we have any impending LAUNCH rotations that we are likely to convert into full time positions?
        | have no idea.
                                                                                                                               Redacted
        °           What have | missed?                               What’s the latest thinking on an RA for H                           for example?

        The four opportunistic candidates discussed this morning:

        °           Gigi Chan.                 Not enough time to consider for permanent role, so rotational is most likely. But where?

                         Redacted   Redacted                                                  Redacted
        °           Ad          Pu             Only a candidate for Bo                                   t this stage.
                         Redacted

        °          Ni    SRedacted | don’t think this will work out with Value team. Do we have other options?                                                 If not
        with KLA, Quality Value perhaps?
                     Redacted
        °           L                  Ta              Commodities is the only option.
                                          Redacted




        Let’s assume we hire all 4, filling gaps (even if on a rotational basis) on Quality Value, BRedacted and Commodities
        and a role we simply create.                            This would mean that we have no headcount for the EME team (RA or Team
        Analyst), Growth Opps, J                                  or Opportunistic hiring in Boston?                     {| could always go back to the Comp
                                                     Redacted



        Committee in these cases but would likely meet with mixed success depending for which one.

        Thoughts, observations please.




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                          TAB 4
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        From:               Philip, Henry [HPhilip@wellington.com]
        Sent:               Wednesday, April 02, 2014 5:50:26 PM
        To:                 DJHoffer@wellington.com;        KDuckworth@wellington.com;          PMugno@wellington.com;
                            #Comp Team
        Subject:            Offer Gigi Chan
        Attachments:        Offer Template - CHAN, Gigi.xls; OLE_XLS_lcon.png; CHAN, Gigi - Resume. pdf;
                            OLE_PDF_Icon.png

        Hi Katherine,

        As per my note, here is what | have. The candidate is based in Singapore, but has only been there for the past year. Prior
        to that was in the UK. | am waiting for the historical data on her bonus’ in the UK. The role will be in Hong Kong, initially a
        GEPM    Team Analyst, with a view to morphing    into a Portfolio Manager in due course, so we will need to relocate too. Let
        me know what else you need.

        H




        <<Offer Template - CHAN, Gigi.xls>> <<CHAN, Gigi - Resume.pdf>>

        Henry Philip


        Wellington International Management Company Pte Ltd
        8 Marina Boulevard, #03-01
        Tower 1, Marina Bay Financial Centre
        Singapore 018981

        T: +65 6428 0106
        E: hphilip@wellington.com




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                          TAB 5
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        From:                   Baxter, Thomas W. [twbaxter@wellington.com]
        Sent:                   Tuesday, December 08, 2015 10:46:02 AM
        To:                     Chan, Gigi
        cc:                     Argyle, Charles
        BCC:                    Philip, Henry
        Subject:                Follow up from YE discussion

        Hi Gigi,

        After each year end meeting | try to send a brief note summarizing the feedback that we received throughout the
        process, including some representative quotes from the peer survey.

        The main message is that you have a lot of support here. | have lots of company in wanting to help you succeed here.
        Here are a few things other investors are saying: "Very pleased she has joined the firm; adds depth in China.”
        "Enthusiastic .. .brings new perspective, deep knowledge and experience in China." "Helpful in pushing me to think
        about angles | had not previously.” "Thinks about longer term strategic questions, e.g. ecommerce in China.” "Gigi is a
        creative thinker who does a great job analyzing sector trends and long term themes.” Generally other investors here
        view you as a differentiated investor and a money maker who invests with conviction. On collaboration there's room for
        improvement. One theme | heard a few times was regarding responsiveness. "Wish she could be more approachable
        via emails" was one quote, and | heard directly from a few other folks with similar comments. Not always easy when
        traveling of course, but even dashing off a simple email reply like “sorry, on the road this week, let me collect my
        thoughts and get back to you” or something like that would go a long way towards changing this perception that some
        investors have.

        The other consistent area of constructive feedback for you relates to communication. | do need to stress that this
        feedback is nearly universal and strikingly consistent. "When Gigi shares her ideas, her thoughts can sometimes seem
        disorganized, and | wonder if she can try to work on tightening up her communication a bit." People have approached
        me on this topic often in multiple contexts: EMM, client-facing interactions, one on one idea sharing discussions, etc.
        Your energy and passion is clearly a strength, but you often get in your own way when communicating verbally in a way
        that requires the audience to work very hard to hear the content. | know we had organized a couple sessions with Scott
        Clark to address some of these tendencies. As you spend more time pitching China Growth, clear and succinct
        communication will be even more important. We can certainly organize more training sessions in 2016, however the
        coaching is only going to be effective if you open yourself up to the feedback and embrace the opportunity to improve
        yourself in this area. At times you have come off as resistant or closed off to feedback. Wellington is a feedback-
        intensive environment. Not all of the feedback you will hear will be on point, some of it won’t resonate. And it is always
        in the hands of the feedback recipient to do what they will with it. But we have found that investors who open
        themselves up to feedback, hear people out, and actively embrace the opportunity to learn from others’ observations of
        them are the ones who thrive here. We all have areas of strength and weakness and every one of us can get better.

        Lots on the plate for 2016: getting China Growth off the ground, continuing to contribute to EMO, communicating more
        of your investment ideas and insights broadly to #Investors and in EMM/MM.

        Hope you have a great holiday.   Please let me know if you have any questions.

        Best,
        Tom




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                          TAB 6
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        From:                   Argyle, Charles [cargyle@wellington.com]
        Sent:                   Thursday, October 01, 2015 7:43:26 AM
        To:                     Burgess, Terrence M,
        cc:                     Murphy, Erin K.; Baxter, Thomas W.
        Subject:                RE: Caught up with Jun last night for dinner in Tokyo

        Hopefully tomorrow | will have a few more detailed comments out from my Asia trip but here are the investor bullets
        from my notes already sent to the MPs. Gigi gets airtirne below, but one thing not mentioned is that a consistent theme
        with respect to her assimilation into HK (and the region) has been her relentless travel: “she is never here” was the most
        consistent response to her name coming up in conversation. Though never stated as directly, Bo is clearly threatened by
        her in some way, shape or form, which is bewildering to me. Let’s get China Growth off the ground asap.

                   In particular, there continues to be a high degree of confidence (which | share) that the majority of investors
                  earlier in their career have a lot of long term potential (Chen, Jhun, Kwak, Wong, Balakrishnan, Peng, Soda). This
                  is a meaningful difference to the “early years” in Asia when investors at this level provided leverage but had less
                  upside, What is particularly exciting, is the collaboration that is occurring at this level — and not just with one
                  another in Asia but across the globe (most mentions: Wong, Trabocchi, Murali, Tyler Brown). The strength of
                  these relationships being developed will pay dividends for years ahead.
              e    Singapore clearly benefits from the presence of 3 robust teams (Asia ex Japan; AA and GIAs) whereas HK
                  continues to be more individual contributors. The illusive holy grail still remains a global, EAFE or even EM PM in
                   Hong Kong.
              e    The Global Contrarian team members are more integrated with both their peers in Asia, and their own team
                  members in Boston/London than ever before. In conversations with Ben Chen and Jon Jhun | heard them bring
                  up Greg, Tim and Tom more times than Paul Kim did in 5 years! Importantly, this pertains to Jun too: a number
                  of investors mentioned how much more open he has appeared: “It is obvious he is trying to make an effort”
              e     But we cannot take assimilation for granted. Gigi Chan mentioned that “I feel as if I’m at a party where I’m not
                  welcome” and “there is no recognition at Wellington for what has been achieved before”. (| found myself
                  wondering if there are lessons to be learned from Fixed Income or AA as | have heard this before in GEPM
                  though never so directly). Gigi is very concerned about the value of her previous China track record going stale
                  and it was clear to me that if we don’t launch an approach in the next 6-12 months we will lose her (“the phone
                  rings all the time in HK”). In response to my direct question, she said she is not bothered about AUM, just about
                  managing “real money”. The good news is that all is going well on EMO and she sees her own approach in
                  addition to her responsibilities there. One of her colleagues in HK proactively described her as “her thought
                  process is very refreshing; independent; non-conformist; “outside the box”; not rattled by recent volatility”.
              e     =| will likely be seeking appropriate approval for China Contrarian (Oh) and China Growth (Chan) in the next few
                  months. An intriguing possibility might be a multi-sleeve “China Cap App” over time. When I told Bo about the
                  likely other strategies, | got the sense it wasn’t the best news of the day for her — she asked if the timeline could
                  be pushed out a bit. | emphasized that this was no reflection in my confidence in her, but as we proceed further
                  she will likely need to hear from others too — a touch of paranoia combined with a dash of territorialism.
              e    =A big topic discussed by the HK/Singapore Board was the possibility of building a team of A-share RAs in Beijing.
                  | was/am more circumspect than most (on location rather than team) but respect their vision and willingness to
                  think out of the box. An interesting topic for CC one of these days.
              e     =| didn’t see all the GIAs but there are clearly some concerns in pockets on this front. | did spend time with both
                   Syn and Cherian, who are covering out-of-favor sectors in an out-of-favor region, and are finding it “hard to feel
                  relevant ”. There was recognition that this is a relationship driven business but “I can only tell PMs so many
                  times to stay away” and “it is difficult to hold hands through difficult times when | am not physically present”.
                   One interesting comment was “we need to be careful about the temptation to push stocks just to be relevant”.
              e     Every time | am in Asia, it strikes me how sparse our macro coverage is of the region (India, ASEAN, Australia.
                  Korea, Japan)




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        From: Burgess, Terrence M.
        Sent: Thursday, October 01, 2015 7:32 AM
        To: Argyle, Charles
        Cc: Murphy, Erin K.; Baxter, Thomas W.
        Subject: RE: Caught up with Jun last night for dinner in Tokyo

        Regarding China Growth and Chan, | had a short catch-up with Greg Mattiko today. Erin is already on top of this so it will
        be redundant for her, and possibly all of you. But he is very concerned about Gigi and is asking for our help, collectively,
        in getting Gigi and her integration with HK to a better place. Apparently the following things have her feeling very
        unwelcome there:

            1)    Nota lot of engagement with Bo. Bo asked me when | was in HK how she could be a better “partner,” and | said
                 she needs to be a better leader in the office. Jun is not going to step into that role. And as the two woman
                 investors in the office she should pay particular attention to Gigi. She said that travel has inhibited that (on both
                 sides — they both travel a lot) but it seems like there could be more there. Bo has a territorial streak. Seerns like
                 a message from any of you to follow up with Bo would be great —- Tom as leading the HK effort, Erin as closest to
                 the team, Charles as our fearless leader. Someone needs to get her more engaged w/ Gigi in a positive way.

            2)   She apparently had a philosophy and process session that went terribly. The panel was very abrasive and did not
                 allow her to contextualize what she does. ALWAYS two sides to every story. Gigi talks a LOT anc maybe they
                 were just asking her to give them more air time and let them help her. But Jun was very direct (not surprising)
                 and told her she was not good at all in terms of presentation skills (maybe better off-line vs. this forum?).
                 Apparently Cheryl Duckworth was the one that told her to “stop talking...this is a one way conversation.” | hignly
                 doubt that was the exact phrase and again think it might have been more of an effort to force Gigi to listen
                 more.

            3)    No one is giving her credit for her experience as a PM. Not quite sure what is meant by this, other than Gigi feels
                 like she has to keep proving nerself and people are skeptical of her skill. | told Gregg | was completely fine with
                 that piece of the story. Everyone has to build/engender confidence and trust. Just because he had a book of
                 business before he had to go through the same process of gaining visibility and confidence --- can’t rest on the
                 past, particularly when it happened at another firm. Same with Enderlein, or Philip Fan, etc....needs to be more
                 resilience here on the part of Gigi and more willingness to prove herself from the ground up. Just my view. But |
                 think that is a reasonable message for her. She kept telling me in HK that “she has done this before” in terms of
                 her readiness for China Growth. I told ner that doesn’t matter much, she is still going to have to prove herself to
                 other investors and GRG before she has any momentum; so maybe | contributed to this problem!!

            4)   She has broken down with Gregg a few times, very disappointed and down. Gregg said he is happy to call Bo
                 and/or Jun and get their side of the story (stories), but asked for Erin’s guidance and any help we collectively
                 could give. He would rather not “deal with what is becoming an HR/personnel headache.” | told him that is
                 largely why we are here, so seems like we need to get on this quickly.

        Again, probably old information for all of you, but the first time | heard it so thought it was worth bringing up. Seems
        time sensitive and important for a number of constituents.
        Terry


        From: Argyle, Charles
        Sent: Thursday, October 01, 2015 12:16 PM
        To: Swords, Brendan J.; Burgess, Terrence M.
        Cc: Baxter, Thomas W.
        Subject: RE: Caught up with Jun last night for dinner in Tokyo

        Thanks for doing that. Completely agreed with respect to China Contrarian. As per my note earlier this week, this and
        China Growth (Chan) are very much on the list.




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        Tom: one thought would be to create a single China Cap App approach with underlying sleeves/composites: Oh/Chan/Bo
        and even possibly A-shares.


        From: Swords, Brendan J.
        Sent: Thursday, October 01, 2015 1:16 AM
        To: Argyle, Charles; Burgess, Terrence M.
        Subject: Caught up with Jun last night for dinner in Tokyo

        Even though he has been through a rough 12-18 months of performance, he is feeling good about the team and
        reflective about his own lessons learned on sizing and timing. He also mentioned China Contrarian, which I think is a
        good idea. | like the timing and would love to get going. (One person’s humble opinion).

        WMClinternal




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        WELLINGTON       MANAGEMENT        COMPANY       LLP



                                                                                                                  WELLINGTON


        Memorandum
                                                                                                                  MANAGEMENT?




        TO:           Capital Commitments Committee
        FROM:          Liz Hogbin, Tom Baxter & Charles Argyle
       RE:            Seed capital for China Growth
        DATE:         23 February 2016




        EXECUTIVE SUMMARY
        We are seeking $1 million in seed capital for the China Growth strategy managed by Gigi Chan.


        DETAILS
        The proposed seed currency is USD and the seeding date is likely June/July 2016, pending the outcome of the Fund
        Approval Committee       later today.     The vehicle will be a UCITS   pool, sponsored   by Wellington   Management    Funds with
        domicile TBD (WMF decision).             The seed money will be used to establish a track record and will be returned to the firm
        once a seed client is found.      The purpose of the seed is a new product launch for limited/targeted marketing.


        Alternatives to seed capital include: marketing a paper portfolio (downside:         regulatory restrictions and lack of a “live”
        Wellington track record; limited appeal to many clients due to lack of pooled vehicle); seeding a Trust Company pool
        (downside: Gigi’s previous fund was UCITS with non-US clients so this vehicle would not suit them; would not provide a
        complement to the China A-share vehicle e.g. A-share vehicle for US clients and China Growth for non-US clients).

        Charles Argyle, Tom Baxter and Liz Hogbin are the “champions” of this seed request.

        Assuming $2B in AUM with the first $200M discounted to 80bp and the remaining at 100bp, the revenue opportunity is
        $19.6M. The annual cost to run the pool (with no clients) is estimated at $122K per annum, with the fund coming out of
        subsidy at $12M and earning its full fee at $100M in AUM, assuming an operating expense cap of 20 basis points.

        The following topics are covered in materials provided to Product Panel and/or Fund Approval Committee, which are
        enclosed.


                  Product strategy/approach and benchmark
                  Investment team
                  Investment objective/philosophy and projected return
                  Target client audience and marketing plan, including range of potential AUM, if applicable
                  Other similar products/approaches at Wellington
                  Other similar products/approaches in the market, including competitive analysis, flows, number of searches,
                  institutional interest, etc.
              e = Risks, including illiquid securities and leverage




        WMClnternal                                                                                                                               1




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        From:                      Argyle, Charles [cargyle@wellington.com]
        Sent:                      Monday, November 30, 2015 8:37:51 PM
        To:                        Mattiko, Gregory A.
        Subject:                   RE: Gigi Thoughts

        Thanks Greg:

        Thanksgiving was very traditional so your vision of the reversal is correct. But it was also a restful weekend with the
        family so definitely something to be thankful for.

        iam meeting with Gigi tomorrow (Tuesday) at 3:30pm EST so your email is definitely timely.        | also had a long chat with
        Kenny last week.

        i think my conversation to her will be along the following lines:
              @   |have heard you that your assimilation into Wellington, and especially the Honk Kong office, could have gone a
                 lot better. But | want to look ahead in this conversation not backwards.
              e   Wellington may not be for everybody. If we are not in alignment then we owe it to ourselves to be honest with
                 ourselves and one another. But you have a competitive compensation package, a coveted role ona highly
                 regarded portfolio management team and the backing of this firm to launch a new investment approach. These
                 are all decisions | personally will be evaluated on so | have skin in the game here. | want you to know that | want
                 you to succeed here, but | also know that the ingredients for how we define success at Wellington are far
                 greater than historical or future investment results. For example:
              e   This is a firm where giving and receiving feedback is part of the package. There is a reason for it — we really care
                 about making our professionals better. As part of this process, we have all received feedback we didn’t like to
                 hear — or even disagreed with - but we recognize it is an important ingredient in our development. Are you
                 willing to embrace this?
              ®   For example, there is a tone from you that comes across as “I have demonstrated that | have investing all
                 figured out — why does no-one appreciate this”: this “all figured out” approach is completely counter-
                 productive here — | presurne this is not what you intend but it comes across as a lacking a key criteria for long-
                 term success in this business: humility.
              e   Weare launching China Growth. But based on previous conversations with you | still struggle with whether you
                 truly have the patience for how an institutional approach typically evolves. | don’t want complaints in 6-12
                 months — even 24. The focus should be on alpha in China Growth and EMO. We are a firm that is way more
                 focused on your long-term success rather than any short term vagaries the market or business might throw up,
                 which most investors here find reassuring and differentiated.
                  if this is not enough, | understand; but if this is tne case let’s not waste anyone’s time.

        Most likely to be softened in the moment, but I think sne needs to hear most of the above.

        Really helpful context on China Contrarian and the Office. Not sure in the moment what to do about the latter, but she
        couldn’t be more wrong about the former. This concept of balancing out our China offerings is actually a highly
        appealing part of the story. While it may not seem like it, | think there is likely to be way more traction to a GRG
        professional offering a ClO a broad overview of our “China platform” (Quality, Growth, Contrarian, A-shares) than simply
        trying to pitch a single product.

        Thanks again for your thoughts as this progresses.

        Charles


        From: Mattiko, Gregory A.
        Sent: Friday, November 27, 2015 7:28 AM




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        To: Argyle, Charles
        Subject: Gigi Thoughts

        Hi Charles,

        Hope you had some turkey yesterday.      If so, we have done the complete role reversal as the Yank here going out for
        Korean BBQ last night and you the Brit having Turkey on the qth Thursday in November.

        Gigi has been here all week. As you know, she is in Boston all of next week. | have spent some time with her over the
        last couple of days and have a few further observations. As you might anticipate it remains quite a fluid situation.

        First off, | had a good long talk with Kenny Wednesday. As you know, he spent some time with Gigi while in HK. In
        short he claims to be a big fan of Gigi and thinks that Wellington should do everything they can to keep a talented
        investor like her. He sees the same talent and potential in her that I think you and I do. He also recognises that to come
        in to Wellington as an investor, a female, in Asia that the odds are not stacked in her favour necessarily and we need to
        have sympathy with how hard it must be for her to make it work at wellington. Once again, | think you and | would
        agree with this in principal. He also notes that she is a high-strung individual and this does not necessarily work in her
        favour. He told me he would convey his thoughts to you himself, but | thought I’d mention it in case you didn’t get a
        chance to touch base with him.

        | had another (emotional) encounter with her this week. Essentially, what | wanted to get across to her is that she is
        highly valued at the firm and that we all want her to succeed, and | am at the top of that list. | also wanted to get across
        to her that the process of launching a fund and having it seeded will take an indefinite amount of time. She needs to be
        patient. | also said to her that | worry a lot about her emotional wellbeing, and because we don’t know how long it will
        be until she has a product that we need to have a strategy in place to make sure her sanity remains intact while this
        process goes on.

        | must admit that | am frustrated by a lack of “can do” attitude. She still seems to want to blame her (perceived)
        misfortunes on the firm and does not seem to have much in the way of patience. She gets set off by what | would think
        are the smallest things. For example, this week’s drama centred around her learning that Jun Oh is launching a China
        Contrarian fund. She somehow sees this as a terrible outcome because she feels that there is a high risk that Wellington
        will determine that we have too many China products being launched in a short window and that hers will be
        sidelined/delayed. Perhaps more disturbing, she also believes that Jun Oh is launching this strategy in some way to spite
        or block Gigi in particular. | pushed back on this asking if she genuinely thinks that Jun has nothing better to do than to
        plot against Gigi and she still seemed convinced that it is a distinct possibility. | have a hard time deciding if this is just
        the irrationality of raw emotion rearing its head, or the basis of a dangerous mindset. I’m sure she feels that she has
        told me this in confidence, so | wouldn’t expect you to do anything with this information. | simply feel it is a relevant
        piece to the puzzle.

        The other thing that she remains adamant about is the need for an office in HK. She claims that she is one of the better
        communicators in the HK office amongst the people she works near, and that if she were to have an office she would
        not just run and hide in it. | told her that Kenny had told me that he told off Bo for spending too much time in her office
        and that she should get out and speak to the team more. | told her again that | thought that the prospect of her getting
        an office is low, as we are trying to move away from it in HK. You just need to be aware that she has convinced herself
        that having an office is a cornerstone of the remedy for her woes in HK.

        Her latest posture is that she is looking for Wellington to provide her a few things. First, she doesn’t want any more
        delays in launching a China Growth strategy. Second, she wants an office. She is also concerned about Wellington’s
        commitment to growing our China presence in general. She keeps coming up with the threat that if any of these things
        don’t work in the way that she deems sufficient enough that there are plenty of other firms out there willing to hire
        someone like her.

        Although | tell her that | am her number one fan, | will admit to you that my enthusiasm is beginning to wane.       | know it




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        has been difficult for her but the lack of humility, tenacity, optimism and thankfulness is beginning to take its toll on me.
          | am still convinced that she is an excellent investor and | think she will resonate with the clients. The hard part for us is
        figuring out if her attitude is something that will shift in time as things settle down or a permanent feature we will be
        stuck dealing with for as long as she’s here.

        lam around all next week to discuss if you like.

        Greg




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        From:                 Duckworth, Cheryl M. [cmduckworth@wellington.com]
        Sent:                 Wednesday, April 22, 2015 10:53:01 PM
        To:                   Bhagwat, Niraj; Killian, Anita M.; Maguire, Daniel A.; Oh, Jun Y.; Helfer, Ray E.; Baxter,
                             Thomas W.
        CC:                   Duckworth, Cheryl M.
        Subject:              Start of Asian Philosophy & Process
        Attachments:          2006_01_role_of_investment_philosophy.pdf; Template.doc; 20130219 PP Questions.doc;
                              Valone Philosophy and Process - Jim Valone - 8-14-09.doc; PhilosophyTips.doc; 1 John Averill
                              P&P 2014.pdf; 2014 Levering PP.padf; 1Anita Killian - P&P - 2014.pdf

        Niraj, Anita, Dan, Jun, and Ray,
        Thank you for agreeing to be part of an Asian Philosophy &         Process group. As I mentioned to each of you, the
        goal is to help investors not yet managing a portfolio to start    to develop, refine and articulate a philosophy to
        better work with other investors, improve stock picking and       build a foundation for managing money someday
        (or better support those who do). I believe an added benefit      is it allows our most senior investors to interact in a
        more informal setting while working with our next generation of investors. Below and attached is some
        background material that should be helpful for you prior to our first meeting. It includes a paper from a
        consultant stressing the importance of having a Philosophy and Process, a sect of questions and template we will
        send the investors before they come in front of the group, some tips on what a P&P is, and then 4 different
        examples of P&P statements.

        I think a few points to emphasize:
              ¢   Each of you have very different philosophies. That’s a good thing. The goal of these sessions is for the
                  investor to develop their own that is unique to them, not for us to impose our philosophies on them
              e    This group doesn’t manage money so expect this to be the first time they have thought about this
                  exercise and therefore, their views will be less formed and not well written are articulated.    That’s OK.
                  This is going to be a very iterative process for them over several years (and their career).
              «    Weare there to ask questions, have a discussion, encourage them and leave them with food for thought.
                  This is not a formal exercise, a test, or areview group. We want them to view this as a group with
                  whom they are comfortable and to which they can repeatedly reach out.

        How will it work:
           ¢   Given location, we will have video b/w the 3 offices. The investor will send to us ahcad of time (it will
               ultimately be in the meeting invite) their written Philosophy and Process. The first 45 minutes will be a
                  discussion with the investor starting to explain what is written (and I will get the meeting going) and us
                  asking questions.
              «   JT encourage each of us to take some notes or suggestions because we will reserve the last 15 minutes to
                  provide feedback
              e   Each investor will get a list of questions and a P&P template well in advance of the meeting giving
                  themselves time to think and put thoughts on paper.
              e   Each investor will have the option of meeting with Tom or me beforehand to help them through the
                  initial process

        T have already asked Naveen to be the first investor with whom we work.          Others in the queue would be Tommy
        Wong, Gigi Chan, Jennifer Lee, Divya Balakrishnan, Lee Keen Chong, Jamie Kwak, Hiro Ueno, and Ben Chan.

        Please look out for the first scheduled meeting and thanks in advance for your participation.

        Best, Cheryl




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        Cheryl M. Duckworth, CFA
        Senior Managing Director
        Wellington Management Singapore PTE LTD
        8 Marina Boulevard, #03-01
        Tower 1, Marina Bay Financial Center
        Singapore 018981
        +(65) 6428 0138 (work)
        +(65) 9455 9072 (cell)




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        From:                        Argyle, Charles [cargyle@wellington.com]
        Sent:                       Tuesday, December 01, 2015 6:34:01 AM
        To:                          Mattiko, Gregory A.
        Subject:                     Re: Gigi Thoughts

        Thanks Greg. Let's definitely find 30 minutes to catch up next week. I am the one who should be thankful for
        your active engagement and insights here.

        Sent from my iPhone

        On Dec 1, 2015, at 4:55 AM, Mattiko, Gregory A. <GAMattiko@wellington.com> wrote:

                Thanks for the feedback Charles and good luck. | feel bad that you have to deliver this kind of message as |
                am sure it will not be easy for her to receive. Joking aside, you will want to have some tissues ready.

                if the three of us can sort this situation out it will be fantastic for the firm and our clients. The time it took
                us to find someone of Gigid€™s investment talent in HK speaks to this. But, if we canag€™t we should make
                sure that none of us waste more precious time. |4€™|| be very interested in how the conversation goes. |
                know that post Baston she is going on holiday and will be back in London around Christmas time. Maybe
                you and | can sit down face-to-face next week and debrief. If there is anything that | can do in the
                meantime please let me know. Thanks again for your efforts and wisdom in helping us through this tricky
                situation.


                Greg


                From: Argyle, Charles
                Sent: Tuesday, December 01, 2015 1:38 AM
                To: Mattiko, Gregory A.
                Subject: RE: Gigi Thoughts

                Thanks Greg:

                Thanksgiving was very traditional so your vision of the reversal is correct. But it was also a restful weekend
                with the family so definitely something to be thankful for.

                iam meeting with Gigi tomorrow (Tuesday) at 3:30pm EST so your email is definitely timely.          | also had a
                long chat with Kenny last week.

                i think my conversation to her will be along the following lines:
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                           personally will be evaluated on so I have skin in the game here. | want you to know that I want you
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                   part of this process, we have all received feedback we didna€™t like to hear 4€” or even disagreed with
                         - but we recognize it is an important ingredient in our development. Are you willing to embrace
                         this?
                   <!--[if lsupportLists]-->S%e — <!--[endif]-->For example, there is a tone from you that comes across as
                         a€cel have demonstrated that | have investing all figured out 4€“ why does no-one appreciate
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                         this is not what you intend but it comes across as a lacking a key criteria for long-term success in
                         this business: humility.
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               platforma€ (Quality, Growth, Contrarian, A-shares) than simply trying to pitch a single product.

               Thanks again for your thoughts as this progresses.

               Charles


               From: Mattiko, Gregory A.
               Sent: Friday, November 27, 2015 7:28 AM
               To: Argyle, Charles
               Subject: Gigi Thoughts

               Hi Charles,


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               in HK. In short he claims to be a big fan of Gigi and thinks that Wellington should do everything they can
               to keep a talented investor like her. He sees the same talent and potential in her that | think you and | do.
               He also recognises that to come in to Wellington as an investor, a female, in Asia that the odds are not
               stacked in her favour necessarily and we need to have sympathy with how hard it must be for her to make
               it work at wellington. Once again, | think you and | would agree with this in principal. He also notes that
               she is a high-strung individual and this does not necessarily work in her favour. He told me he would
               convey his thoughts to you himself, but | thought l4€™d mention it in case you didna€™t get a chance to
               touch base with him.




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               | had another (emotional) encounter with her this week. Essentially, what | wanted to get across to her is
               that she is highly valued at the firm and that we all want her to succeed, and | am at the top of that list. |
               also wanted to get across to her that the process of launching a fund and having it seeded will take an
               indefinite amount of time. She needs to be patient. | also said to her that | worry a lot about her
               emotional wellbeing, and because we dona€é™t know how long it will be until she has a product that we
               need to have a strategy in place to make sure her sanity remains intact while this process goes on.

               | must admit that | am frustrated by a lack of 4€cecan doa€ attitude. She still seems to want to blame her
               (perceived) misfortunes on the firm and does not seem to have much in the way of patience. She gets set
               off by what | would think are the smallest things. For example, this weeka€™s drama centred around her
               learning that Jun Oh is launching a China Contrarian fund. She somehow sees this as a terrible outcome
               because she feels that there is a high risk that Wellington will determine that we have too many China
               products being launched in a short window and that hers will be sidelined/delayed. Perhaps more
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               particular. | pushed back on this asking if she genuinely thinks that Jun has nothing better to do than to
               plot against Gigi and she still seemed convinced that it is a distinct possibility. | have a hard time deciding if
               this is just the irrationality of raw emotion rearing its head, or the basis of a dangerous mindset. la4€™m
               sure she feels that she has told me this in confidence, so | wouldna€™t expect you to do anything with this
               information. | simply feel it is a relevant piece to the puzzle.

               The other thing that she remains adamant about is the need for an office in HK. She claims that she is one
               of the better communicators in the HK office amongst the people she works near, and that if she were to
               have an office she would not just run and hide in it. | told her that Kenny had told me that he told off Bo
               for spending too much time in her office and that she should get out and speak to the team more. | told
               her again that | thought that the prospect of her getting an office is low, as we are trying to move away
               from it in HK. You just need to be aware that she has convinced herself that having an office is a
               cornerstone of the remedy for her woes in HK.

               Her latest posture is that she is looking for Wellington to provide her a few things. First, she doesna€™t
               want any more delays in launching a China Growth strategy. Second, she wants an office. She is also
               concerned about Wellingtond€™s commitment to growing our China presence in general. She keeps
               coming up with the threat that if any of these things dona€™t work in the way that she deems sufficient
               enough that there are plenty of other firms out there willing to hire someone like her.

               Although | tell her that | am her number one fan, | will admit to you that my enthusiasm is beginning to
               wane. | know it has been difficult for her but the lack of humility, tenacity, optimism and thankfulness is
               beginning to take its tollon me. Iam still convinced that she is an excellent investor and | think she will
               resonate with the clients. The hard part for us is figuring out if her attitude is something that will shift in
               time as things settle down or a permanent feature we will be stuck dealing with for as long as shea€™s
               here.

               | am around all next week to discuss if you like.

               Greg




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        From:                   Hogbin, Elizabeth A [EAHogbin@wellington.com]
        Sent:                   Monday, June 20, 2016 8:24:54 AM
        To:                     Zinter, Anne K; Baxter, Thomas W.
        cc:                     Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject:                RE: Presentation Skills - Hong Kong investor

        Anne


        Thanks for reaching out. We had the session last Wednesday with Charles Argyle and the 4 GRG folks from before (Amy
        Morse, Jed Syn., Andrew Tubman, Andria Weil). | will get some feedback from GRG on Friday.

        My observation was that the presentation was smoother/more natural than previous versions with fewer umm’s/ya
        know’s. However, she did get wordy/scattered a few times. Separately, | think GRG will say they need her to refine her
        message more e.g. what’s your edge? before engaging broadly with clients.

        Thanks for following up and | will pass on any specific comments | get later in the week.

        Best, Liz


        From: Zinter, Anne K
        Sent: Friday, June 17, 2016 9:51 PM
        To: Hogbin, Elizabeth A; Baxter, Thomas W.
        Cc: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject: RE: Presentation Skills - Hong Kong investor

        Hello All,
        Just checking in —is there any feedback on Gigi’s presentation at Investorpalooza that | can send to Scott Clark?

        Talk to you soon,
        Anne


        From: Zinter, Anne K
        Sent: Tuesday, June 07, 2016 10:07 AM
        To: Hogbin, Elizabeth A; Baxter, Thomas W.
        Cc: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject: RE: Presentation Skills - Hong Kong investor

        Hello all,
        i wanted to let you know that Gigi Chan and Scott Clark had their coaching session last night-

        Scott and | were    in touch this morning and he asked to hear any feedback on how Gigi comes across next week she is in
        Boston. He took     all of your context into consideration and helped her with streamlining her opening, setting up her
        background, and       her investment approach. He also mentioned that she tends to get wordy and scattered when nervous
        and they worked       on that quite a lot.

        Please let me know how it goes, and | will gladly pass the information on to Scott.

        Best wishes,
        Anne


        From: Zinter, Anne K




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        Sent: Wednesday, June 01, 2016 9:14 AM
        To: Hogbin, Elizabeth A; Baxter, Thomas W.
        Ce: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject: RE: Presentation Skills - Hong Kong investor

        Thank you, Liz and Tom.

        i will be sure that Scott receives the context that both of you have provided.
        Best,
        Anne


        From: Hogbin, Elizabeth A
        Sent: Wednesday, June 01, 2016 6:10 AM
        To: Baxter, Thomas W.; Zinter, Anne K
        Cc: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject: RE: Presentation Skills - Hong Kong investor

        Thanks Tom and Anne


        i would agree with what Tom has said and add the following points:
             ®   Don’t simply read the words on the page
             @®  Make eye contact with your audience
             e   Acknowledge and respond to their questions

        Agree with putting the presentation to one side and hitting on the points below (have added one additional point):
        1) quick background on self
        2) what the strategy is and why it is unique
        3) representative stock story or two — make it come alive e.g. how did you discover stock? Meetings with management,
        etc.?
        4) the case for China


        Kind regards, Liz _
        From: Baxter, Thomas W.
        Sent: Wednesday, June 01, 2016 10:55 AM
        To: Zinter, Anne K
        Cc: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G; Hogbin, Elizabeth A
        Subject: RE: Presentation Skills - Hong Kong investor

        Hi Anne —


        i don’t have Scott Clark’s email address so can you please pass on the following message to him? This will be consistent
        with the previous conversations I’ve had with Scott on Gigi (and will not come as a surprise to him either) but | did want
        to make sure the session is as successful as possible and keep it focused on how to best help her immediately on her
        hignest-need issues. We’d like the focus to be on:

                ®   Eliminate filler words: “um”, “you know”, etc. Very distracting to audience and the message gets lost.
                @   Slow way down
                ®   Be succinct
                ®   Get tothe point sooner
                ®    Focus ona conversational tone. Do not read bullet points verbatim. Do not say “if you turn to the next page ..
                    .” etc. In fact, Liz and | think Gigi will be most successful putting the presentation to one side and just having a
                    conversation focused on: 1) quick background on self, 2) representative stock story or two, 3) the case for
                    China. Wrap that all up in less than 10 minutes and simply invite questions/conversation.
                @    Greg Mattiko, and other investors who present well, often don’t open the book, and they do as much listening




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              as talking. That should be the goal.

        Thanks again for coordinating.       Liz (copied) may have more to add.

        Tom


        From: Zinter, Anne K
        Sent: Tuesday, May 31, 2016 7:41 PM
        To: Baxter, Thomas W.
        Ce: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject: Re: Presentation Skills - Hong Kong investor

        Hello Tom,
        Thank you for confirming! | will schedule and manage this going forward.

        Enjoy the rest of your week,
        Anne

        On May 30, 2016, at 6:06 AM, Baxter, Thomas W. <twbaxter@wellington.com> wrote:

                       gth
                June         at 8PM Boston time works for Gigi. Thanks in advance for handling all the logistics.


                From: Zinter, Anne K
                Sent: Thursday, May 26, 2016 8:34 PM
                To: Baxter, Thomas W.; Murphy, Erin K.; Scordato, Christine A.
                Cc: Kelley, Jessica G
                Subject: RE: Presentation Skills - Hong Kong investor

                Thank you, Tom.
                i can manage and confirm all logistics with the vendor, provided that we can arrange for Gigi to meet with
                Scott Clark at 8 PM ET on either June 6 or 7 (June 7 or 8 at 8AM).

                Please let me know once you’ ve reached out.

                Best wishes,
                Anne


                From: Baxter, Thomas W.
                Sent: Thursday, May 26, 2016 12:27 AM
                To: Murphy, Erin K.; Scordato, Christine A.
                Cc: Kelley, Jessica G; Zinter, Anne K
                Subject: RE: Presentation Skills - Hong Kong investor

                Thanks, I will reach out and get that scheduled. | know the feedback was also consistent at the recent
                Wellington Institute presentation she delivered.


                From: Murphy, Erin K.
                Sent: Thursday, May 26, 2016 12:49 AM
                To: Scordato, Christine A.; Baxter, Thomas W.
                Cc: Kelley, Jessica G; Zinter, Anne K
                Subject: RE: Presentation Skills - Hong Kong investor

                Thanks Christine. Tom, by way of background, when Gigi went through Product Messaging, the feedback
                was almost entirely style vs substance.     Liz felt if we could get her more training before she goes in front of




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               clients, sne would   have the opportunity to make   a much   stronger first impression with both the clients and
               GRG. | tend to agree with her.

               From: Scordato, Christine A.
               Sent: Wednesday, May 25, 2016 4:34 PM
               To: Baxter, Thomas W.; Murphy, Erin K.
               Cc: Kelley, Jessica G; Zinter, Anne K
               Subject: FW: Presentation Skills - Hong Kong investor

               Hi Tom,


               We were asked to try to find time with Scott Clark to help Gigi hone her messaging and presentation prior
               to her marketing trip. Could you find out if the offered time below will work for her both in terms of her
               travel and when her meetings start?

               We would reach out to her directly but we are unsure if she has the context around why this is being
               offered.

               Thanks,


               C

               Christine
               Wi   Cinternal



               From: Zinter, Anne K
               Sent: Wednesday, May 25, 2016 3:53 PM
               To: Scordato, Christine A.; Kelley, Jessica G
               Subject: RE: Presentation Skills - Hong Kong investor

               Hi there,
               | checked and Scott is first available on June 6" or 7 at 8pm EST if that works for Gigi.

               Hopefully that works with her timeframe prior to Investorpalooza.
               Best,
               Anne




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        From:                          Argyle, Charles [cargyle@wellington.com]
        Sent:                           Monday, June 27, 2016 8:03:30 PM
        To:                             Mattiko, Gregory A.
        cc:                            Argyle, Charles
        Subject:                        Re: Hi Charles - Gigi update

        Thanks Greg. I think I was in this meeting and believe there may be an over reaction from GRG this time - my
        understanding of the context was that she gets inbound calls from head hunters about taking over other funds
        and therefore there is presumably potential personnel turnover at other firms that we could take advantage of. I
        really don't think the inference was meant to be that she is a "leaver" (unless this was in a separate meeting).
        GRG should not be surprised that our investors get calls - [ am sure it happens all the time!

        Perhaps check with Liz for her perspective too. Given Gigi's tendency to over react I would tread lightly here.
        That said, #2 is the key question that we should all know the answer to, as clearly there is a perspective that she
        is not “all in". On #3 Iam happy to follow up with GRG if need be.

        Sent from my iPhone

        On Jun 27, 2016, at 10:18 AM, Mattiko, Gregory A. <GAMattiko@wellington.com> wrote:

                Morning.      Hope you had a nice weekend.

                Caught up with Erin this morning.        One of the things we spoke about was the latest chapter in the Gigi
                saga.

                Apparently, as part of her GRG presentation the other week she mentioned that she was speaking with
                headhunters. I’m sure you either heard this first hand or someone has told you. To me, this is not a
                surprise. But for GRG apparently this was an important declaration that sets back her marketing campaign
                even more as nobody wants to risk taking a “leaver” around to clients. | can understand this. | can also
                understand that Gigi probably made her comment out of a combination of frustration and insecurity.

                Either way, | feel compelled to head this one off at the pass.       Gigi is here this week (though she is off sick
                today). | wanted to address a few things with her:

                       <!--[if lsupportLists]-->1. | <!--[endif]-->Let her know that her choice to mention that she was being
                             recruited in that forum has set her marketing effort back.
                       <!--[if lsupportLists]-->2. | <!--[endif]-->Ask her if she is genuinely interested in staying. | will also let
                             her know that if she stays she should expect that raising money may take a long time.
                       <!--[if lsupportLists]-->3. | <!--[endif]-->That if she intends on staying that the best way to accelerate
                             the marketing process would be for her to go back to key people who attended that meeting and
                             explain herself and why she are committed to making this work.

                Wanted to check with you before | had this conversation.          Let me know if you object or would like to
                handle in a different way.

                Greg




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        From:                   Duckworth, Cheryl M. [cmduckworth@wellington.com]
        Sent:                   Friday, August 26, 2016 7:30:43 AM
        To:                     Baxter, Thomas W.; Philip, Henry; Argyle, Charles
        cc:                     Scordato, Christine A.
        Subject:                Gigi meeting

        Just a bit of an update. Nothing surprising but I continue to think her time at Wellington is challenged due to her attitude

        T had asked her to lunch but she had declined so we caught up for 30 min instead. T never acknowledged she was pregnant and she
        didn't offer so that topic wasn't discussed which was a shame bc I think I could helpful but I don't know her well and not my place to
        intrude on personal issues.

        T kept the conversation to her new fund, her coverage, working as analyst and PM, etc. it was an unfortunate list of complaints,
        exasperation with services and nothing really that good. She wasn't unpleasant but clearly feels under appreciated, still

        1) Her fund took forever to launch, was promised it when she arrived and now can't make all the decisions she wants be she can't buy
        Pnotes. Says can't get any clarity on when. At Thread needle il was never an issue, etc. I just listened and this went on for a good 5
        min. I said I'm not aware of how it works, didn’t promise I could make it change but would raise it. She did compliment some GIAs
        and the HK investors which was nice to hear.
        2) We don't do a good job of covering A share and it should be done in conjunction with the other Chinese companies. I agreed with
        her but stated it was a matter of impact and trying to balance adding coverage with how much we can purchase. Obviously not an
        answer she liked and she said it was useless to cover just the big cap and not the rest. I said we were working on it and mentioned the
        interns. I certainly appreciate her view but she has a way of making it a list of complaints and not a constructive conversation. 3)
        Lastly, I asked how the dual role is going and she reminded me that this is what she has done before and it was actually harder prior to
        having her fund

        She didn't lay the complaints out like this and the conversation was much longer but I fear the big chip on her shoulder is still there. I'll
        continue to touch base with her

        Tom, not sure how receptive she'll be to the coverage of her fund while on maternity leave conversation.



        Cheryl Duckworth




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        From:                     Mattiko, Gregory A. [GAMattiko@wellington.com]
        Sent:                     Monday, October 31, 2016 1:19:44 AM
        To:                       Argyle, Charles
        Subject:                  Notes for Charles

        Charles,


        Hope your trip to Asia was uneventful. I’m off to Taiwan with Philip and Soonki shortly. Wanted to get the notes on Gigi
        below out to you. In short, | think she is a good portfolio manager that needs to change some very fundamental things
        about her attitude if she is going to survive here. Changing some of the things | have listed below will be very difficult
        and require a lot so soul searching. Without changes though, | don’t know how we can move forward.

        Please feel free to attribute any of the below thoughts to me when you speak with her on Wednesday.           | have no
        problem backing them up when | speak with her next week.

        Let me know if you have any questions.

        Greg


        Positives
               e    Knows her stocks — Gigi has the raw material to be a great portfolio manager at Wellington. | have no doubt
                   about it. She is passionate about the job of picking stocks, and sinks her teeth into the analysis. She does not
                   manage money in exactly the same way that | do, but it is close enough to yield the type of analysis we would
                   need to generate alpha.
               e    Has been pleasant to Philip and myself— | can’t speak for Philip necessarily (though | do speak with him
                   frequently about the subject), but neither him nor | have had particularly bad experiences with Gigi. As noted
                   below, this is not the case with others.
               e    She communicates well with clients— When she is talking about stocks, the market, or China in particular, she
                   comes across as competent and passionate. Many of the verbal crutches she stumbles upon when speaking in
                   the morning meeting or (supposedly) in internal dry-run pitches are not there. The one time a client did ask
                   about her strategy in a meeting | attended it was clear to me that she had more difficulty speaking about her
                   strategy than she did about stocks or markets.


        Improvements

               e = Client, Firm, Self— | think it is safe to say she has not embraced this ethos. It is my perception that she tends to
                   put herself first in most situations. Her orientation seems to be “how can the firm help me.” | have seen this in
                   how she talks about what she expects from the firm with everything from benefits (or in her view, lack thereof),
                   marketing, back office and management in general. The instances are numerous and have existed more-or-less
                   since she has joined. | can understand that, after having only ever worked at one other company in her life, that
                   finding one’s feet in a new organization might take time. Eventually though, one needs to have the ability to
                   observe and reflect upon the culture of a firm (especially in a senior position) and understand what is the best
                   way to conduct oneself. Even as a partner of the firm, | think that nobody should be a “conformist” and that we
                   need diversity of opinions and viewpoints. But | feel strongly that even if one does not like how things are done
                   at an organization that the only way to improve it is to constructively address the issues over time — for the
                   betterment of the firm. Wellington is not shy about stating that they have a long-term orientation and | think
                   this is one of the biggest strengths, but being long-term necessitates that employees need to be long-term as
                   well.
               ¢ = Work Ethic — The hours she works seems light, and the amount of holiday time she has taken seems at the
                   upper end of the boundaries. | realize this a bit of a nebulous area as wellington does not track either (so no
                   way to prove). That said, my perception is that she is not putting an enormous amount of effort into the job.




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           I’m sure she does the minimum requirement, but it is still not as high as one might expect given the situation she is
               in (trying to gain traction at a firm and build a book of business).
           e     Contribution to team — With Philip as the only other benchmark | can say that Gigi’s relative contribution to
               the EMO team is low. She rarely, if ever, proactively reaches out with new ideas (something Philip does
                regularly). Nor does she provide written commentary about her views on companies (even ones we own), once
               again something Philip does consistently. At the end of last year, | tested how long it would take for Gigi to
               proactively reach out to me (about anything). It was several weeks of silence before | eventually reached out to
               her. Her attitude seems to be that her number one priority is her China portfolio and if we want her help we
               should ask for it. Once again, this runs afoul of the firm culture and how any normally functioning team should
               operate. All of this said, when we are able (and willing) to engage her she is a useful member of the team, but
               this is not sufficient.
           e     Contribution to the firm — Her contributions to #ILP, #Investors and in the Morning Meetings are anemic.
           «     Acceptance within the firm — Speaking to Philip last week he told me that several people approached him
               unexpectedly and unsolicited to tell him that they though there is a problem (or they have a problem with) with
               Gigi. | have also been approached my several people over time that have done the same thing. Gigi clearly did
               not have this perception before she joined the firm and this is something that she has created since her arrival.
                If she is going to survive at this collaborative firm, she is going to need to turn around people’s perception of
               her. She may claim to not care about how others perceive her, but | feel very strongly that there is no way
               around it if she is going to be successful here. Once again, | think this is of particular importance at Wellington
               that places so much emphasis on collaboration. Nobody is going to collaborate with someone they don’t
               respect.
           e    Tenacity — This is a job where things rarely go as planned. When they do, one should be grateful, but | feel one
               needs to always expect it to be challenging. Gigi seems to get very frustrated when things do not go the way she
               has expected them to go. She then seems to lack the ability to put setbacks behind her and focus on creating
               the outcomes she desires. She needs to be able to focus more on making outcomes happen as opposed to
               dwelling on lost opportunities.
           e    Feedback -— It is well documented by now that Gigi has trouble taking on feedback. How and if something like
               this can be changed is beyond me. That said, the lack of ability to take on feedback — and importantly, make
               adjustments — will surely limit her progression at Wellington (or anywhere for that matter).
           ¢    Confidence —1| think at the heart of Gigi’s areas for improvement is a lack of confidence. | think this is seen in
               her constant reference to her previous track record, her lack of ability to take on feedback, and her “what can
               you (or the firm) do for me” orientation. | think if she had more confidence in herself she would be able to take
               a longer-term view to her career and fit right in at Wellington. | think she doesn’t know how good she has it as
               Wellington is one of the few firms out there that gives employees the luxury of having that long-term
               orientation. Gigi does a good job at projecting confidence but because it is not genuine, it comes of awkwardly
               and turns people off.




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        From:                       Argyle, Charles [cargyle@wellington.com]
        Sent:                       Thursday, May 04, 2017 7:56:06 AM
        To:                         Philip, Henry
        cc:                         Baxter, Thomas W.; Puritz, Adam T.
        Subject:                    RE: GRG

        i think some combination of Greg, me and you needs to sit down with her (in person or via VC) and ascertain where her
        head is at. As mentioned | am hoping to discuss next steps with Greg next week — perhaps you should join the call too.

        Realistically, | doubt there is a long term home for her on the EMO team, other than the vaguest of affiliations perhaps.
        Greg deserves clarity here (from her and us) so he can move on one way or the other.

        Then the key questions with respect to Gigi become:
        Are we willing to put that disappointment aside? | could get there
        if so, are we confident enough that there has been a genuine response to the other areas of feedback identified in the
        November meeting (and subsequent email) to back her if we proceed on a stand alone basis with China Growth (and
        related)? | have no idea...this is key
        is the investment acumen there? | think so, yes.

        With respect to speaking to Alex’s prospects, if they are truly just exploratory conversations at this stage, then why not.
        We know she can be effective in these settings, and | think the more we do to make her feel part of the firm, then the
        higher the odds of a successful outcome. But if/when we are at a finals stage we unambiguously need more clarity on
        the second bullet above. But interested in your views.

        Charles


        (Copying Adam too.)


        From: Philip, Henry
        Sent: Thursday, May 04, 2017 1:33 AM
        To: Argyle, Charles
        Cc: Baxter, Thomas W.
        Subject: GRG

        Charles,

        This topic has come   up a couple of times recently and is obviously quite sensitive. There have been a couple of occasions
        recently whereby Gigi’s strategy has been of potential interest to prospects. Alex came to me the other day on this, and
        Tom again on a separate opportunity today. | don’t think that they are necessarily definitive mandates at this time, but they
        could develop into specific opportunities in due course. How do we feel about having prospects engage with her at this
        stage?

        Happy to discuss further offline.

        Henry




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        From:                        Philip, Henry [HPhilip@wellington.com]
        Sent:                        Thursday, May 25, 2017 5:12:27 AM
        To:                          Argyle, Charles
        cc:                          Puritz, Adam T.
        Subject:                     GC

        Hi Charles,

        | had a catch-up with Gigi this afternoon. Scheduled for 30 minutes, but it lasted about 10. Not much to report, she pretty
        much stone-walled me. | can fill you in with more detail when we catch-up next. | asked       her directly where her head was
        at, particularly in the context of your conversation with her prior to her maternity leave. She said “I’m fine”. It was a pretty
        abrupt dialogue. So, not really the road to Damascus change that we were hoping for, but not totally negative either.

        Henry




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        From:                        Argyle, Charles [cargyle@wellington.com]
        Sent:                        Wednesday,     May 03, 2017 7:12:32 AM
        To:                          Mattiko, Gregory A.
        Subject:                     RE: Gigi

        Thanks for the update Greg. | agree with your sentiment that we need to see signs of a course correction sooner rather
        than later, especially as it has been a few weeks, and apologize for not being more on tap of this.

        Let’s plan to speak when you are back from Latam.       Are you in HK next week?


        From: Mattiko, Gregory A.
        Sent: Tuesday, May 02, 2017 6:40 AM
        To: Argyle, Charles
        Subject: Gigi

        Charles,


        Just a quick note.   Finally got a chance to have a chat with Gigi.   It was brief.

        | asked her how she was doing now that she has been back a few weeks.            She mentioned that she is still having trouble
        getting a reliable minder for her daughter while she is at work.

        She seemed generally in decent spirits, and had no complaints.        Her portfolio performance has been good recently.

        She has not increased her contribution to the EMO team at all, and seems solely focused on her China Growth portfolio.

        Alex Qian called the other day and mentioned that the client that was interested in her strategy before her maternity
        leave was still interested in her status. | told him that you or | would get back to him within a few weeks with more
        color. He is not in a hurry.

        In summary, | don’t think that much has changed. There has been no indication from her to           me that she acknowledges
        the issues you and | spelled out to her last year nor is doing anything to rectify deficiencies.     | think we both agree that
        given the past issues we need to see a willingness to improve firm/team contribution which          we have not yet seen. |am
        off to Latin America on investment travel and back in a little over a week. Upon my return |        am willing to ask her more
        directly if she intends on responding in some way to our review from last year.

        Willing to speak with you in more detail if you wish whenever you like.

        Greg




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        From:                  Mattiko, Gregory A. [GAMattiko@wellington.com]
        Sent:                 Tuesday, November 15, 2016 4:53:35 AM
        To:                   Argyle, Charles; Baxter, Thomas W.
        Subject:              Gigi & China Growth FY!

        Gents,


        Wanted to flag something really quick. Just heard from Liz in London that as of this morning it looks increasingly likely
        that the Chinese client will want to select Wellington/Gigi for part of the southbound H-share mandate. This is Liz’s
        view. Apparently, Gigi has committed to launching it shortly after Chinese New Year (early Feb) which should be in the
        middle or even early part of her maternity leave. Supposedly, there is a commitment for speaking engagements in China
        for the launch. Just wanted to alert you guys to the current state of affairs. You may want to check with Alex on the
        actual status and logistics.

        Greg




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        From:                        Gigi Chan [gkzchan@gmail.com]
        Sent:                        Tuesday, January 14, 2014 9:21:22 PM
        To:                          Tom Baxter

        Hi Tom,

        T hope this email finds you well. I just had dinner with Ghislain de Charentenay from Bernstein. I realise it has been a year since we
        were last in touch. As you may have read in the press, I left Threadneedle carly October last ycar to take a career break. Iam now
        looking to relocate to HK.   Are you still looking to add resources to your team?

        Tn the meantime, I wish you the very best for 2014.

        Best,
        Gigi




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        From:                      Philip, Henry [HPhilip@wellington.com]
        Sent:                      Thursday, February 06, 2014 11:30:23 PM
        To:                        Sung, Monica K.
        Subject:                   FW: Catch up call with Gigi Chan

        | completely forgot to do anything about this — oops!

        Tom would like Gigi Chan to interview with a few folks whilst she is in the USA. We would need to help her get from New
        York to Boston, and I’m sure Kathleen can help with the scheduling. Can you start this ball rolling? Similar way of thinking
        as we have with Aditi.

        Many thanks

        H




        From: Baxter, Thomas W.
        Sent: Thursday, January 23, 2014 4:20 PM
        To: Philip, Henry
        Subject: Catch up call with Gigi Chan

        Hi Henry—


        | spoke with Gigi today. She is in New York for a couple months. Her boyfriend lives there. The 2 of them
        both want to move to HK and that’s where she is currently actively looking. | was reminded why | liked her:
        personable but polished, long-term orientation to investing and career, highly aware of the intrapersonal side
        of investing.   She will be in NY through at least the end of February.      So! was thinking we should get her up to
        Boston, have her meet with investors there.        As you know we are interested in having Asia-based team
        members for global teams.       [| ran the idea of being a team analyst by her and she was very open to it. She was
        also saying she was keen to broaden out from just China-only investing.           We can have her meet Nicholas
        Choumenkovitch, Jean-Marc Berteaux, Carmen/Angeli, of course Charles and Christine Scordato and a few
        others.    What do you think?    If you’re supportive, let’s talk logistics when you’re back next week.


        Thanks,

        Tom




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                         TAB 23
                                                                                                    Interview Feedback Summary

               Candidate Name &
                  Requisition
                  Gigi Chan
               Requisition: 710461

                  Interviewer         Recommendation *        Interview Level      Interview Type      Interview Date                                                              Detail Comments

          Nicolas Choumenkovitch     Continue            1st Level Interview    In Person               03/07/2014      I liked her personality, she is outgoing which I think is a plus for foreign office. And her liberal arts background is also a plus in my
                                                                                                                        opinion and different from all the more narrow specialization we see out of Asia. I did not have time to go to deeply into her
                                                                                                                        analytical skills but at she seems to have an investment philosophy and to look at cash generation (not revenue growth) as a
                                                                                                                        metric to follow. Only concerns she talks a lot but does she listen


          Michael Carmen             Continue            1st Level Interview    In Person               03/07/2014      Somewhat mixed. She has some great experience and appears to be focused on stocks but she had a difficult time articulating her
                                                                                                                        views. I came away uncertain if she would be additive to our Asian research or whether she would be a great fit.


          Gregory Mattiko            Continue            1st Level Interview    In Person               03/07/2014      I knew Gigi from the time when she was at Threadneedle in London. We shared some company meetings together and I got to
                                                                                                                        know her a bit. I was impressed with her back in those days, and my opinion has not changed since interviewing her. I think she is
                                                                                                                        a good fit for wellington on a few levels. First, she has a very strong and positive attitude. She has an extrovert personality, is
                                                                                                                        opinionated, yet has a great sense of humor. I think she would be a great colleague to work with in this regard. Second, she is a
                                                                                                                        differentiated stock picker. She is not someone who is easily influenced by the market, rather someone who has the confidence
                                                                                                                        and conviction to build a view even if it is contrary to the market opinion. She has built a great amount of experience in good and
                                                                                                                        bad times. She launched her funds as the market was peaking, just before the GFC, and was able to navigate through that period
                                                                                                                        and come out well on the other side. I do not know her process or depth of knowledge well, but I have had enough exposure to her
                                                                                                                        to know that it is good. My only reservation might be that if she were in the wrong position she might end up getting
                                                                                                                        bored/frustrated though she claims not to.




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          Erin Murphy                Continue            1st Level Interview    In Person               03/07/2014      I was impressed with Gigi. She could articulate her investment edge, and she had a very compelling view on how to contextualize
                                                                                                                        investments given the macro/country backdrop. She has great energy! The downside to that energy is that she is a little all over the
                                                                                                                        place and her answers tended to be long winded. However, I think she could be a positive addition to the office in HK. Possibly a
                                                                                                                        fit with one of our global or EM teams. She seemed genuinely open to reverting to covering Asia more broadly rather than focusing
                                                                                                                        specifically on China as she has in her recent role.


          Jean-Marc Berteaux         Continue            1st Level Interview    In Person               03/07/2014      I was pleasantly surprised with Gigi. She has a very quick mind, and is able to make broad links and comparisons accross
                                                                                                                        companies, industries, sectors, and cultures. I see her more as a PM than a team analyst, but I can also see her starting out on a
                                                                                                                        team. She has a longer term view on how to invest, which would probably continue to be sucessful on a chinese or pan-asian
                                                                                                                        product.

                                                                                                                        While she is very lively, she can come across as a bit disorganized, but I think that would be a perfect foil for some of the very
                                                                                                                        solid, focused investors we already have in region. She would certainly draw them out for discussions.


          Steven Angeli              Do not Continue     1st Level Interview    In Person               03/07/2014      Great background, smart, and seems like a good cultural fit. But she couldn't communicate what made her a differentiated
                                                                                                                        investor. Overall, I found her communication to be very animated and long-winded. On the one hand she said she was a long
                                                                                                                        term investor, but it seems her China fund turnover was mostly over 100% during her tenure.
                                                                                                                                                                                                                                                                    Case 1:19-cv-11605-WGY Document 68-3 Filed 04/01/21 Page 76 of 170




DEF 00029083
          Kenneth Abrams   Continue   3rd Level Interview   Panel       03/27/2014   Hire GiGI.

                                                                                     first i think she would be a great cultural fit. very friendly, great english (obviously) and stayed at one firm her entire career. On
                                                                                     top of that she did the prep on the roundtable THE DAY AFTER HER WEDDING. I mean realy.

                                                                                     i thought the quality of the written work was superb. she was great on ENN her stock, thorough, had all the facts right, new what
                                                                                     the drivers were. Understood the strategic issues, market position and corporate governance issue.

                                                                                     I was very impressed with her work on CPALL. to have no knowledge and come up with a three page report, that was skeptical,
                                                                                     against the consensus and hit very key drivers... I left the meeting wanting to short the stock. great background and insight for me
                                                                                     on their lousy corporate governance.

                                                                                     clearly she was nervous in the meeting and the answers to direct questions could have been briefer and sharper. but i have done
                                                                                     40 or 50 of these round tables and i think that infrequent participants underestimate the incredible pressure this puts on
                                                                                     interviewees, to face 4 Wellington Partners.

                                                                                     so all things equal it was an 8.5 to 9 out of 10. i would hire her tomorrow




          Anita Killian    Continue   3rd Level Interview   Panel       03/27/2014   She did a good job in a stressful situation. I agreed with her on her stock conclusions. I think she would be a good cultural fit. I
                                                                                     couldn't believe she got married only 3 days ago and still managed to pull this off. Clearly, she is interested in us. I like that she
                                                                                     has all the requisite language skills, lots of experience, loyalty to her employer.... I say we hire her!


          Niraj Bhagwat    Continue   3rd Level Interview   Panel       3/27/2014    Solid thesis on both stocks, but came across as nervous. Didn’t answer my question directly. Reasonable investment insight, but I
                                                                                     would suggest meeting more people.
          Ray Helfer       Continue   3rd Level Interview   In Person   03/27/2014   I focused my discussion with Gigi Chan on the business aspects of Wellington across Asia Pacific as well as addressed her
                                                                                     questions on interaction between regional clients and our regional investment team. She was also quite interested in how we think
                                                                                     about talent development in Asia for both investors and client facing colleagues.

                                                                                     I found Ms. Chan to be very thoughtful and, perhaps based on so many interviews, quite informed on our firm. She came across
                                                                                     as high energy, very focused on investment content and collaboration.




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                                                                                     While all of this was good, it was clear to me that we need to give more clarity to Ms. Chan around the time between joining
                                                                                     Wellington and officially being a team analyst for a specific team. Her questions on this were not compensation related. She is
                                                                                     interested in things such as:
                                                                                     How will her impact be evaluated?
                                                                                     By whom will she be evaluated?
                                                                                     Who would champion her integration to the firm?
                                                                                     What is the process of actually joining a team?
                                                                                     What investment recommendation impact can she have between now and then?

                                                                                     Tom and I discussed this a bit this afternoon. In summary, I felt she was sold on the firm, but not quite on the job, at least not the
                                                                                     starting phase.
                                                                                                                                                                                                                              Case 1:19-cv-11605-WGY Document 68-3 Filed 04/01/21 Page 77 of 170




DEF 00029084
          Daniel Pozen      Continue   2nd Level Interview   In Person   04/03/2014   Positives:

                                                                                      Good cultural fit
                                                                                      Focused on investment fit rather than career track / job title
                                                                                      Articulate, won’t be shy about sharing / challenging ideas
                                                                                      Thoughtful about areas of success and challenge
                                                                                      Likely to take long-term perspective w respect to career

                                                                                      Negatives:

                                                                                      High growth, high quality / suspect she’d gravitate toward similar companies as Niraj and team
                                                                                      Talked about long-term investment perspective but 100% turnover

          Mark Mandel       Continue   2nd Level Interview   In Person   04/03/2014   Highly supportive

          John Boselli      Continue   2nd Level Interview   In Person   04/03/2014   Gigi is an extrovert, very expressive, happy, great communicator, experienced, good investment results, passionate.

                                                                                      I worry her process is scattered and unfocused, but her investment factors are reasonable. I wonder if she will continue working as
                                                                                      a PM if investment performance struggles for awhile. I would determine her commitment to the PM position long-term.



          Donald Kilbride   Continue   2nd Level Interview   In Person   04/03/2014   My conclusion is really mixed. If pushed, I’d say she should see more people. But I was not overly impressed.


          Charles Argyle    Continue   2nd Level Interview   In Person   04/03/2014   I am very glad we asked her to come in one more time (though I did thank her profusely for making the effort at such short notice).
                                                                                      I would have no problem backing her candidacy assuming the PMs and Analysts who met her today didn’t have major concerns
                                                                                      regarding her investment acumen and depth – we did not go deep on stocks. We did talk a lot about what she is looking for as she
                                                                                      thinks about the next stage of her career and I was impressed by her thought process: she talked a lot about developing any
                                                                                      investment philosophy and developing through working with more different investors – rather than the “thrown in the deep end”
                                                                                      experience at Threadneedle. She is excited by a role that has scope and experimentation: not concerned by the rotational aspect if
                                                                                      it comes to that. I asked her whether she sees herself as a China PM or something broader – she said the latter (her other offer is
                                                                                      to be a China PM). I asked her why she bothered coming up to Boston again with an offer in hand: “I am looking to make the right
                                                                                      choice that is sustainable and a lot at Wellington really resonates with me: it would be enabling rather than restricting”. On the
                                                                                      investment side, she described herself as being able to hold her nerve, dispassionate and not afraid to make decisions. She
                                                                                      asked very good questions.




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          Michael Masdea    Continue   2nd Level Interview   In Person   04/03/2014   Doesn't seem like a slam dunk, but definitely has potential.

                                                                                      Positives
                                                                                      * Culture is important to her
                                                                                      * Learns from/appreciates mistakes
                                                                                      * Motivated by the right things
                                                                                      * Big picture thinker

                                                                                      Negatives
                                                                                      * Long winded
                                                                                      * A tad arrogant
                                                                                      * Weak P&P
                                                                                                                                                                                                                            Case 1:19-cv-11605-WGY Document 68-3 Filed 04/01/21 Page 78 of 170




DEF 00029085
               Candidate Name &
                  Requisition
                  Gigi Chan
               Requisition: 721291

                  Interviewer         Recommendation *        Interview Level      Interview Type   Interview Date                                                            Detail Comments

          Thomas Baxter              Continue            1st Level Interview    In Person            01/27/2013      I had a mixed reaction overall to Gigi. She's a growth investor, looking for long term structural growth companies (Tencent, AAC).
                                                                                                                     She does a lot of her own primary research, and said she recently completed a research trip in China and has now visited each
                                                                                                                     and every province in the country. She was at her best talking about some of the insights she gains from research travel (e.g.
                                                                                                                     grass roots comments that help her gauge the rate of change in the political/regulatory situation). She was at her worst when
                                                                                                                     trying to identify/define her edge as a PM. I think she has potential as an analyst but ultimately is quite green as a PM despite the
                                                                                                                     6 year track record (they start them early at Threadneedle as junior/apprentice PMs). I think she'd need more seasoning to have
                                                                                                                     credibility as a PM and team leader here. I view her as more of a number 2.




          Henry Philip               Continue            1st Level Interview    In Person            01/29/2013      Gigi is a strong candidate - arrange to meet Charles and Tom. She comes across as quite 'young' in her approach, so I am not
                                                                                                                     clear as to whether she would have the gravitas we would look for in a standalone PM. Ultimately I think she will be successful, but
                                                                                                                     I wonder whether she would be better served starting as a Team Analyst...




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        From:                    Argyle, Charles [cargyle@wellington.com]
        Sent:                    Tuesday, November 22, 2016 3:55:50 PM
        To:                      Chan, Gigi
        Subject:                 Follow up from November 2 conversation in Hong Kong

        Gigi:


        | wanted to follow up on our in-person conversation on November 2"¢ when | was in Hong Kong, during which | shared
        feedback on a number of key performance areas, in particular highlighting the need for meaningful improvement. While
        we recognize your deep knowledge of Chinese stocks and differentiated analytical perspective, we have concerns with
        where your broad performance currently stands and the lack of meaningful progress in some areas since our
        conversations last December in Boston.

                e = It is broadly perceived that you have not embraced   in the firm’s ethos of Client, Firm, Self, and that instead you
                    put yourself first in most situations. Personally, this was this most evident then when talking to me a year ago
                    when you even began a sentence with the phrase “I demand...” But the impression is that it permeates your
                    expectations with respect to everything such as marketing, back office and management in general. | respect
                    that assimilating to a new firm’s cultural values can take time, but by now there are no excuses for not
                    understanding the best way to conduct oneself. There needs to be a shift in attitude from “What can Wellington
                    do for Gigi” to instead “what can Gigi do for Wellington and our clients”.

                e    Greg is disappointed with your contribution to the EMO team. Despite spending a substantial amount of time
                    seeing companies, we see a lack of proactivity on your part to reach out with new ideas or provide much written
                    commentary about your views on companies (including ones that are already owned). For example, Greg
                    highlights one period earlier in the year where there were several weeks of silence before he eventually had to
                    reach out to you. It appears unambiguous that your number one priority is your own portfolio and if Greg wants
                    your help then he needs to ask for it. Again, this runs against the firms values of “client, firm, self” and is not
                    how a team should operate. We have many examples of team members launching new investment approaches
                    and managing to remain integral contributors on other approaches. Going forward, it is imperative that you act
                    fully in support of the EMO team. If this is not compatible with your PM responsibilities on China Growth then
                    the latter will need to be closed. We expect that you can take immediate action on this feedback to improve
                    your engagement and impact on the EMO team.

                e    Your broad contribution to the firm’s investment dialogue has also been lacking, and your contributions to #ILP,
                    #Investors and in the Morning Meetings are sparse. | shared with you the data from the peer review feedback
                    that we collect each year: quantitative feedback is provided for collaboration, idea generation, depth and money
                    making, and your ranks out of 114 were 110, 95, 111, and 109. Combined you ranked 112 out of 114. I share
                    with you some representative qualitative feedback quotes verbatim,: “No value added as she does not
                    communicate”; “Gigi should assume people are trying to help her”; “needs to be more proactive in making
                    contact”; “believes that Wellington and the people who work here do not want her to succeed”; “pessimism
                    prevents her from integrating into the Wellington culture”; “unwilling to collaborate”; “Gigi creates the
                    impression that she does not appreciate being part of the Wellington platform”. You frequently remind us of
                    your extensive investment experience, and we expect it be a lot more evident in our broad dialogue and
                    debate.


                *—Your colleagues find you challenging to work with. This was not a pre-conceived perception before you joined
                   the firm and there is an expectation for you to take ownership for this. There is a tendency for you to get
                   frustrated when things do not go the way you expect them to go. There is resistance to feedback and difficulty
                   putting setbacks behind you. You have the power to turn this perception around by assuming some humility and
                   being willing to collaborate, which is critical if you are going to be successful here. You are aware by now of the
                   emphasis Wellington places on collaboration, and this applies to the business side too.




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        In our conversation it was very disappointing to hear that you didn’t acknowledge that any of the above areas were your
        responsibility. In fact, your rationale for much of the commentary above was that it was very difficult to focus on your
        day-to-day responsibilities on the EMO team, let alone broader collaboration, as you had to personally take of numerous
        issues with respect to the launch of the China Growth portfolio. | have seen many portfolios launched at Wellington
        during my time here, and | find it difficult to see this argument.

        You also referenced the that the exasperation that underlies some of the behavior above is a function of
        miscommunication with regards to career expectations. Your offer letter was very clear that you were joining the firm
        as an Equity Research Analyst and there seems to be no supporting evidence of a conversation with you committing
        definitively to a portfolio manager role in your first couple of years here. | am confident that even if the potential for
        such a role was discussed then it was in the context of you succeeding fully in the analyst role you were hired in to,
        which we have yet to see.

        To set expectations going forward, we should be clear that in all likelihood there will be minimal asset growth    in China
        Growth for the next 3 years, and it should be viewed as an incubation portfolio. This is no different than the
        expectations | would set for any portfolio manager at the inception of a new portfolio approach, and it should be
        highlighted that this will not in and of itself be a hindrance to career progression within Wellington. Wellington is clear
        in having long-term orientation, but this necessitates that employees need to be long-term as well.


        The short to medium term imperative is to respond to the feedback shared in person on November 274 and in writing
        above, and my hope and expectation is that you will embrace this, especially the requirement to have more impact on
        the EMO team and to adopt a more positive collaborative attitude in general. If there is no sustained improvement in
        this respect then we will need to have a more difficult conversation later next year.

        As we also      discussed, | would encourage you to use the next few months to embrace the new changes in your
        life as well    as to embrace this feedback with a positive and forward-looking mindset and attitude. Greg and |
        have been       your supporters over the past two years, but we have not seen the same level of commitment to
        either the     firm or the EMO team on your part, as outlined above.

        | look forward to receiving your reply and acknowledgement.

        Regards,
        Charles




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        From:                   Baxter, Thomas W. [twbaxter@wellington.com]
        Sent:                   Thursday, January 15, 2015 6:10:16 AM
        To:                     Chan, Gigi
        cc:                     Argyle, Charles
        BCC:                    Philip, Henry; Scordato, Christine A.; Murphy, Erin K.
        Subject:                Follow up from YE meeting

        Hi Gigi —

        Each year after our YE meetings | like to take a minute to summarize the main points in an email. It’s a good discipline
        for me to memorialize our discussion and reinforce the feedback. In future years I'll try to get this out a bit sooner...

        The main message is    that you’re off to a good start here. We haven’t got a ton of feedback to work from, which is
        expected. Next year    the process will be more robust and we’ll have more feedback from a broader group of investors
        (remember we send      the formal survey at the end of the summer, so you were only a few weeks into the job this time
        around}. But Greg is   very happy to have you on the team. In contrast to the conversation we had a couple months ago
        post-South America where you worried about the team dynamics and your potential «3° Wheel” status, Greg does not
        feel this way at all. He thinks you’re a pleasure to work with and expects you’|l continue to add lots of value to the
        team. You bring a fresh perspective to the team dialogue, and you’ve been very proactive with your ideas. You havea
        pragmatic approach to your investing and have adapted well to Greg’s process. | acknowledge that the team structure
        (such as it is) is a bit if a challenge: your remote location, the geographical overlap with Philip, Greg’s longstanding
        history with Philip, etc. | appreciate that you are exhibiting lots of flexibility in your current role. But you should know
        that many, many other new hires feel similarly during their first year with the firm. Anyhow, we hired you with the
        understanding that you are a talented investor who we thought would thrive within our investment culture. | feel even
        more strongly now that this is, and will be, the case. | think your talents are being leveraged pretty well now and | see
        loads of optionality as to how they can continue to be leveraged going forward. You’|| hear the following phrase a lot
        from me and Charles and others in management and it sounds trite but it is true: This is a very long term place.

        Outside the EMO team you’re starting to develop strong relationships with other investors. Joint travel to companies
        and conferences is a great way to establish these ties, as I’m sure you’re discovering. Your outgoing nature and
        willingness to engage with other investors is a strength and I’d encourage you to continue to leverage this, especially
        since so many of our investors who you can have impact with are located outside of Asia.

        As a communicator we talked about some things you can do to make your EMM/MM comments more concise. The
        EMM has a wide range of participants and trying to speak to all of them at once is impossible. | suggested that you
        assume a knowledgeable audience (e.g. PMs who can own the stock) and try to speak directly to that one constituent.

        At the end we talked about your ideas for 2 paper portfolios. | know you’ve subsequently worked with Rebecca Hardy to
        get these set up. I’m genuinely excited about them, especially the pan-Asia growth idea. First and foremost, | think it is
        an empirically sound investing strategy which fits with your skills and interests. Secondarily (and it’s a distant second —
        you know my position on the importance of investor-driven strategies not marketing-driven ones!), we don’t have any
        products like that at the firm currently.

        Sorry for the formality of sending an email when | could have just walked 3 steps, but again | find it useful to have a
        record of these chats to refer to later. In a couple months’ time | will do a mini-feedback round with a few other
        investors outside the team at midyear and we can have another conversation then. Please start thinking about 5-6 folks
        outside of Greg and Philip who you’ve worked closely with and think can provide some constructive feedback.

        Thanks,
        Tom




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        From:                           Chastain, Jean [JChastain@wellington.com]
        Sent:                           Tuesday, May 19, 2015 3:07:29 PM
        To:                             Thors, Lisa; Zuo, Haobo
        cc:                             Mintz, Geoffrey P.
        Subject:                        RE: HHMI/ Redacted Connect color

        Hi Lisa,
        Thank you very much for including us on the Redacted meeting and color on Connect.

        Sounds like a great trip. Hope you got to spend a few days there.

        Jean


        From: Thors, Lisa
        Sent: Tuesday, May 19, 2015 2:56 PM
        To: #GRG - Americas Institutional Group Dedicated Team; #Equity Product Management; #Hedge Fund Group; Chastain,
        Jean; Zuo, Haobo
        Cc: Mattiko, Gregory A.; Hogbin, Elizabeth A; Fan, Philip; Ewing, Anne-Marie; Trojan, Vera M.; Chan, Gigi
        Subject: HHMI - Positive annual in-person EMO meeting - May 12

        Summary
               e   Well-received EMO portfolio review with HHMI global equities team (separate account Redacted                 |so Bay
                   Pond|_Redacied__]
                    Discussed portfolio (China, Brazil, India, specific stocks), team, firm-wide EM equity AUM, EMO book of
                   business, remaining pipeline and funding schedule
                    Happy client; no concerns expressed
               e       HHMI   meeting with quality European equity managers
                       Rich is looking forward to Asian Summit in November

        Action Items
               e       Follow up with Rich on pan-Asia portfolio (EM + developed)
               e       Follow up on EAFE strategies

        Details
        On May 12, Rich Pender (MD, Global Equities}, Sara Edmondson (Manager — Global Equities), and Shelley West (Analyst)
        met with Greg Mattiko, Philip Fan, Liz Hogbin, Anne Marie Ewing, and Lisa Thors in London for an annual in-person deep
        dive on the EMO portfolio. The meeting went very well, with HHMI actively engaged throughout. No concerns were
        expressed by this happy client.

        Book of business
            e   Capacity update
                   ae
                    dacted                                                          Redacted
               e    No marketing since last fall, so able to focus fully on portfolio, investment travel
               e = Client base is primarily US E&Fs and a few large Canadian clients, less global than originally expected, less
                   corporate & pension than JPM book
               .   |                                  Redacted
                       Stable client base; in fact many clients expressed preference for longer lock ups, which is indicative of long-
                   term, patient investor base
                       Update on status of other EME mandates at Wellington (EMSE, EMRE, EME, and Jamie Rice’s pan LatAm
                   strategy in incubation)




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        Team updates
                                               Redacted
            « — Philip fully settled in London —
            e — Gigi will remain an important team resource contributing ideas to portfolio (i.e. VIPshop), but firm is
                encouraging her to manage portfolios as she did before joining Wellington, with several ideas/portfolios in
                development, including a pan-Asia portfolio (EM+developed) that is of interest to HHMI

        Portfolio
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        Other
        Over largely social dinner at The Beast (http://www. beastrestaurant.co.uk/), we learned:




             °                                                   Redacted




        Lisa Thors
        Managing       Director
        Wellington Management Company LLP
        280 Congress Street, Boston, MA   02210
        wi       =©6617.951.5704
        J        |Ithors@wellington.com




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        Advisory services offered through Wellington Management Company, Ip.
        Securities offered through Wellington Management Advisers, Inc.,
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        From:                    Pender, Rich [penderr@hhmi.org]
        Sent:                    Tuesday, July 26, 2016 2:36:38 PM
        To:                      ‘Mattiko, Gregory A.'
        Subject:                 On another front, what's Gigi up to these days - the China product, or has she developed
                                 something pan-Asia? R
        Attachments:             image001.jpg




                                 Redacted




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                               ih ll       howard       Hughes
         |                     I          | Medical     Inetitute
        Howard Hughes Medical Institute is managing member of various limited liability companies ("LLCs") containing the name "HHMI," "Sprugos,” "Private Equity
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        other entities. Any email or other communications made or actions taken by the Howard Hughes Medical Institute with respect to or on behalf of any LLC or any
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        From:           Argyle, Charles [cargyle@wellington.com]
        Sent:           Monday, September 28, 2015 3:52:17 PM
        To:             Swords, Brendan J.; Perelmuter, Phillip H.; Hynes, Jean M.; Klar, Stephen; Boudens, Michael J.
        Subject:        Observations from Asia ex Japan

        Thought you would be interested in some thoughts from Asia (obviously some are confidential — especially the first
        section):

        There was lots of conjecture around what the post-Ray and post-Cheryl era might look like. Interestingly most of the
        former seemed to be centered around the functional rale, and most of the latter around the head of office role in
        Singapore (no insight there unless a secret is out of the bag — but no one tested the water on that front so | don’t think
        so). | was asked numerous times “Are you thinking about this?” (| presume the “you” in this context pertains to the
        firm’s senior leadership).
             e    With respect to the senior GRG role, my most interesting conversation was with Don in Seoul. He told me that
                 GRG in Asia is appropriately made up of Koreans, Chinese, Singaporeans, Japanese etc. and he hopes we realize
                 that only a “westerner” could effectively lead this team. Given history and culture, a local leader would be very
                 difficult.
             e = Alex feels as if all the teams in Asia are mature enough to lead themselves and report directly to someone
                 outside the region. | highlighted that there was no way they could all report separately to Michael, and we
                 ended up throwing “spaghetti against the wall” with respect to head of International in London etc. But apropos
                  Don’s point above, interesting the Alex did not advocate for single head of Asia GRG.
             e    T Redacted told me that she would like to be considered for the Head of Office role post Cheryl and asked what |
                 thought. | told her that | think she is an excellent relationship manager, but this doesn’t necessarily mean she
                 would be good in this role. | highlighted 3 additional areas that would need to be considered: her people
                  management skills (we didn’t talk much further about this); her relationship with all the investors (now “fine to
                 good” according to her); and her willingness to accept that our Singapore office is likely to be a melting-pot of
                 talent from all over Asia and the globe, and not just Singapore (I compared it to London where she had been
                 earlier in the week — she gets it, but the jury is still out as to whether she accepts it). As a next step | advised her
                 to seek out Cheryl, and ask her for development areas. She flat-out asked me what | thought the odds were:
                 “Less than 50/50”. She indicated that if she does not get the job, then she hopes there are other potential roles
                 for her that will allow her to continue growing beyond her existing responsibilities.
             e = Ni          lso through his hat into the ring for the same role. | told him that | wasn’t convinced it would be his
                    Redacted


                 highest and best use. We had a long conversation as to why he is interested to begin with. He genuinely wants
                 to contribute more to the partnership and there are only so many ways this is possible from Singapore. | said it
                 is incumbent upon us to find these ways and told him that | was so pleased how he was stepping up as a Partner
                 in multiple ways — he was genuinely touched. With respect to Head of Office, | said that Phil may be interesting
                 to talk to as a former (and current) equity PM now in that role.
             e    Also of note, Ray is clearly in favor of a local head of office in Singapore, though | am not sure he fully
                 understands the heterogeneity there versus the relative homogeneity of HK. Alex is also very worried that
                 T Redacted will leave if she doesn’t get the role.

        Generally speaking, the investment platform seems to be in good shape in HK and Singapore.
            e      =In particular, there continues to be a high degree of confidence (which | share) that the majority of investors
                 earlier in their career have a lot of long term potential (Chen, Jnun, Kwak, Wong, Balakrishnan, Peng, Soda). This
                 is a meaningful difference to the “early years” in Asia when investors at this level provided leverage but had less
                 upside, What is particularly exciting, is the collaboration that is occurring at this level — and not just with one
                 another in Asia but across the globe (most mentions: Wong, Trabocchi, Murali, Tyler Brown). The strength of
                these relationships being developed will pay dividends for years ahead.
            e     Singapore clearly benefits from the presence of 3 robust teams (Asia ex Japan; AA and GIAs) whereas HK
                 continues to be more individual contributors. The illusive holy grail still remains a global, EAFE or even EM PM in
                   Hong Kong.




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               The Global Contrarian team members are more integrated with their both their peers in Asia, and their own
               team   members   in Boston/London than ever before.    In conversations with Ben Chen and Jon Jhun | heard them
               bring up Greg, Tim and Tom more times than Paul Kim did in 5 years! Importantly, this pertains to Jun too: a
               number of investors mentioned how much more open he has appeared: “It is obvious he is trying to make an
               effort”
                But we cannot take assimilation for granted. Gigi Chan mentioned that “I feel as if I’m at a party where I’m not
               welcome” and “there is no recognition at Wellington for what has been achieved before”. (| found myself
               wondering if there are lessons to be learned from Fixed Income or AA as | have heard this before in GEPM
               though never so directly). Gigi is very concerned about the value of her previous China track record going stale
               and it was clear to me that if we don’t launch an approach in the next 6-12 months we will lose her (“the phone
               rings all the time in HK”). In response to my direct question, she said she is not bothered about AUM, just about
               managing “real money”. The good news is that all is going well on EMO and she sees her own approach in
               addition to her responsibilities there. One of her colleagues in HK proactively described her as “her thought
               process is very refreshing; independent; non-conformist; “outside the box”; not rattled by recent volatility”.
                | will likely be seeking appropriate approval for China Contrarian (Oh) and China Growth (Chan) in the next few
               months. An intriguing possibility might be a multi-sleeve “China Cap App” over time. When I told Bo about the
               likely other strategies, | got the sense it wasn’t the best news of the day for her — she asked if the timeline could
               be pushed out a bit. | emphasized that this was no reflection in my confidence in her, but as | we proceed
               further she will likely need to hear from others too — a touch of paranoia combined with a dash of territorialism.




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        From:                Tang, Karen [KTang@wellington.com]
        Sent:                Tuesday, October 25, 2016 4:35:02 AM
        To:                  Scordato, Christine A.
        Subject:             FW: Heads-up for another potential HK Connect advisory opportunity


       Hi Christine, wanted to keep you posted on the below. I just sent it to Charles given there's time sensitivity to this, but
       welcome your thoughts.
       Best,
       Karen
       From: Tang, Karen
       Sent: Tuesday, October 25, 2016 2:50 PM
       To: Argyle, Charles
       Subject: RE: Heads-up for another potential HK Connect advisory opportunity

       Hi Charles, below are some rough speaking points to guide your conversation with Gigi. I will need your Greg's help to
       fill in a lot of the blanks (marked in red) on the quantitative and qualitative assessment of her performance and provide
       lots of examples. Feel free to edit and amend as you see fit and happy to discuss live prior to your meeting with her.

       It will be a tough conversation, so I recommend that you schedule an hour, prepare a box of tissues, and ensure you
       have another meeting scheduled right after so you have a reason to exit. Will you have Greg attending with you? I do
       recommend having a "witness" in that discussion — whether it be Greg, Tom , or myself (although sometimes having HR
       in the room may elicit a "Back up against the wall" behavior).

       After the meeting, an email documenting the conversation should be sent back to her cc: those in attendance so that
       there's no room for miscommunication (I can help with that). Going forward, we need to ensure documentation is
       strong.

       Thanks and welcome your thoughts
       Karen

       Speaking points
       On Maternity Leave
          '.lt.    Congratulations Gigi on the new baby. We understand you will take the firm's maternity leave policy of 14
                weeks of paid leave. The firm will not be expecting you to perform any work during this period of time given this
                is a statutory leave and you will need your rest.
                       {if she insists she wants to work while on leave} We don't want you to stretch yourself by promising too much
                    too soon — the priority in the next few months should be on you and your new baby.
              R.      You may discuss with HR on the specifics of the policy, but you should let us know the day you want to start
                    your maternity leave and the tentative date of return so we can plan for handover activities.
              1*       {If she asks for additional time-off} If you require additional time beyond the 14 weeks of maternity leave, you
                    should take and clear your annual leave first. If you need additional unpaid leave, we can review and discuss
                    further. The firm will review each request on a case by case basis but generally the firm will be as
                    accommodating as long as there are no disruptions to the business.
              N.The backfill plan while you are on your maternity leave will be XXXXXXX. This has been discussed with Greg,
              Tom and others {insert names} and everyone is supportive of this arrangement. Do let us know though if there
              any special issues we need to take into consideration here while you are away.
       On Performance
              di*     Gigi, given it is Year-End and the time for Performance Reviews, I did want to share some 360 feedback I have
                    received from your peers and colleagues over the last year on your performance and behaviour.
              91.    The feedback was consistent across all reviewers. While you have demonstrated some improvement and
                    made some positive strides in XXXX {focus on the positives first}, the following areas still remain to be areas of




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           concern that will ultimately hinder your success at the firm. This was consistent with the performance feedback we
              provided you with last year {Pls confirm if the case. Trying to build a case where the performance issues are
              systemic and non-attributable any other life events}
                  o 1. Performance — {insert with examples and provide 360 feedback quotes if available}
                  o 2. Impact & Skill — {insert}
                  o 3. Culture & Behaviour - Communication Style & Attitude —the tone of your written and verbal
                      communication is perceived by your peers as being confrontational, abrasive and non-productive. {Give
                      recent examples, including one below}. Wellington's culture of collaboration, humility and teamwork is
                      one where everyone's opinion is valued, everyone is on the same team working towards the same goal.
                      You still struggle in this aspect of embodying the Wellington values.
                  o 4. Personal Development — We will need to take stock of this feedback and perhaps you can use the next
                      few months for a bit of self-reflection and introspection, and we can resume this conversation upon
                      your return to work. In order for you to be successful in your role at this firm, you will need to
                      demonstrate sustained improvement in the following areas:
                            (')■ a.
                            O• b.
                                 c.
                 This will also be factored in and reflected in the compensation numbers to be presented to you as the firm
              has a strong pay-for-performance compensation philosophy.



       From: Argyle, Charles
       Sent: Thursday, October 20, 2016 7:11 PM
       To: Tang, Karen
       Subject: RE: Heads-up for another potential HK Connect advisory opportunity

       Thanks Karen. Will be in Hong Kong November 2 & 3. Would be great to get some talking points by the end of next
       week if possible to mull them over on the flight.

       See you then

       Charles

       From: Tang, Karen
       Sent: Thursday, October 20, 2016 6:40 AM
       To: Argyle, Charles
       Subject: FW: Heads-up for another potential HK Connect advisory opportunity

       Hi there, I had lunch with Tom today and he shared this with me. I haven't forgotten about our conversation in Boston
       and will be drafting some speaking points for you when you come out in early November to speak with her.

       Thanks and hope all is well


       From: Baxter, Thomas W.
       Sent: Thursday, October 20, 2016 4:14 PM
       To: Tang, Karen
       Subject: FW: Heads-up for another potential HK Connect advisory opportunity

       As discussed.

       From: Baxter, Thomas W.
       Sent: Wednesday, October 19, 2016 6:15 PM
       To: Argyle, Charles




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       Subject: FW: Heads-up for another potential HK Connect advisory opportunity

       Hi Charles—

       For what it's worth, I'm finding it more and more difficult to see how Gigi can make it here. Are you also struck by tone
       of this short note below? To me it's needlessly confrontational and presumes a certain level of second-rate-ness on our
       behalf. Or maybe just my behalf . . . whatever ... But do you think I'm more or less eager to offer up helpful suggestions
       in the future after being on the receiving end of this note?

       I'm sorry I missed this one. I truly don't recall any inklings of this sort of attitude in the interview process, and I'm a little
       dismayed that this is where we've come to.

       Tom


       From: Chan, Gigi
       Sent: Wednesday, October 19, 2016 2:37 PM
       To: Baxter, Thomas W.
       Cc: Qian, Feng (Alex); Hogbin, Elizabeth A
       Subject: RE: Heads-up for another potential HK Connect advisory opportunity

       Tom, I am afraid my friend is not a consultant. He is the managing partner of a USD1bn fund and does not have time to
       share (again) their arrangement with someone he does not know. I have already shared the arrangement they use
       (Bloomberg reconciliation module as well as post-trade processing solution "Omgeo") with Alex and Liz. We need to do
       our own homework, not just ask someone else. Besides, every fund set up is different. I hope you understand.


       From: Baxter, Thomas W.
       Sent: Wednesday, October 19, 2016 2:02 PM
       To: Hogbin, Elizabeth A; Qian, Feng (Alex); Chan, Gigi
       Cc: Yim, Sally; Fan, Cayla Liang; Yeong, Brian; Hardy, Rebecca
       Subject: RE: Heads-up for another potential HK Connect advisory opportunity


                                                                Redacted




       From: Hogbin, Elizabeth A
       Sent: Tuesday, October 18, 2016 3:24 PM
       To: Qian, Feng (Alex); Chan, Gigi
       Cc: Baxter, Thomas W.; Yim, Sally; Fan, Cayla Liang; Yeong, Brian; Hardy, Rebecca
       Subject: RE: Heads-up for another potential HK Connect advisory opportunity

       Alex

       Thanks for your email. I would be happy for others to weigh in (Tom?) but I do think if we could arrange something
       similar to what is outlined in red below, that would be an improvement as it would give us control over trade execution
       and also the audit trail for performance.

       Adding Rebecca Hardy as well.

       Kind regards, Liz


       From: Qian, Feng (Alex)
       Sent: Tuesday, October 18, 2016 8:14 AM
       To: Hogbin, Elizabeth A; Chan, Gigi




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       Cc: Baxter, Thomas W.; Yim, Sally; Fan, Cayla Liang; Yeong, Brian
       Subject: RE: Heads-up for another potential HK Connect advisory opportunity

       Hi Liz,

       Gigi and I discussed briefly earlier today on this opportunity. I wanted to follow up with you on the trading arrangement
       as highlighted in red below. It seems that, while the client assets never leave China onshore, the offshore advisor does
       have a direct access to the portfolio and is able "execute" the trades from offshore. Is that something we want to
       explore further? Would that be compatible with how we are set up broadly as a firm?

       I'd appreciate your further thoughts. Thanks,

       Alex


       From: Hogbin, Elizabeth A
       Sent: Monday, October 17, 2016 4:31 PM
       To: Qian, Feng (Alex); Chan, Gigi
       Cc: Baxter, Thomas W.; Yim, Sally; Fan, Cayla Liang; Yeong, Brian
       Subject: RE: Heads-up for another potential HK Connect advisory opportunity

       Alex

       Good to hear tha Redacte is visiting the office.

       Gigi, Brian and I are working toward a model portfolio and guidelines by end of day Wednesday. Gigi is assuming that
       the Shenzhen Stock Connect will be up and running at portfolio inception — please shout if you disagree.

       More broadly, would you set up a meeting perhaps end of this week/early next to bring the group up to speed on your
       conversations witF Redacted especially regarding stop loss (could we have higher than 15%?) and performance fee
       (Gigi has an industry contact that advises mainland clients on stock picks but retains the ability for its trading desk to
       execute the trades and also audit the performance trail).

       I have had our performance fee team in Boston review the proposed performance fee language — I will forward their
       comments and questions separately to you.

       Kind regards, Liz


       From: Qian, Feng (Alex)
       Sent: Saturday, October 15, 2016 9:59 AM
       To: Hogbin, Elizabeth A; Chan, Gigi
       Cc: Baxter, Thomas W.; Yim, Sally; Fan, Cayla Liang
       Subject: RE: Heads-up for another potential HK Connect advisory opportunity

       Gigi,

        Redacte   will visit us in Hong Kong on November 9. I'll reach out to you and others later for preparations. Thanks,

       Alex


       From: Hogbin, Elizabeth A
       Sent: Friday, October 14, 2016 6:38 PM
       To: Qian, Feng (Alex); Chan, Gigi
       Cc: Baxter, Thomas W.; Yim, Sally; Fan, Cayla Liang
       Subject: RE: Heads-up for another potential HK Connect advisory opportunity




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       Thanks for the update —good progress!


       From: Qian, Feng (Alex)
       Sent: Friday, October 14, 2016 5:36 AM
       To: Chan, Gigi; Hogbin, Elizabeth A
       Cc: Baxter, Thomas W.; Yim, Sally; Fan, Cayla Liang
       Subject: Heads-up for another potential HK Connect advisory opportunity

       Hi Gigi/Liz,

       I spoke with Redactedc this morning to revive the earlier discussion about a potential mandate in relation to the latest
       development of the Stock Connect Program (see attached notes for earlier discussion). They have showed interest to

                                                               Redacted
               U      y



       As a follow-up, I'll send over our China Growth strategy generic book for their initial review, to be followed with a phone
       conversation next week. I'll report progress from here.

       Thanks and let me know if any questions.

       Best regards,

       Alex
       wmcinternal




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        From:                    Burgess, Terrence M. [TMBurgess@wellington.com]
        Sent:                    Thursday, October 01, 2015 7:31:30 AM
        To:                      Argyle, Charles
        cc:                      Murphy, Erin K.; Baxter, Thomas W.
        Subject:                 RE: Caught up with Jun last night for dinner in Tokyo

        Regarding China Growth and Chan, | had a short catch-up with Greg Mattiko today. Erin is already on top of this so it will
        be redundant for her, and possibly all of you. But he is very concerned about Gigi and is asking for our help, collectively,
        in getting Gigi and her integration with HK to a better place. Apparently the following things have her feeling very
        unwelcome there:

              1)    Nota lot of engagement with Bo. Bo asked me when | was in HK how she could be a better “partner,” and | said
                   she needs to be a better leader in the office. Jun is not going to step into that role. And as the two woman
                   investors in the office she should pay particular attention to Gigi. She said that travel has inhibited that (on both
                   sides — they both travel a lot) but it seems like there could be more there. Bo has a territorial streak. Seems like
                   a message from any of you to follow up with Bo would be great — Tom as leading the HK effort, Erin as closest to
                   the team, Charles as our fearless leader. Sameane needs to get her more engaged w/ Gigi in a positive way.

              2)   She apparently had a philosophy and process session that went terribly. The panel was very abrasive and did not
                   allow her to contextualize what she does. ALWAYS two sides to every story. Gigi talks a LOT and maybe they
                   were just asking her to give them more air time and let them help her. But Jun was very direct (not surprising)
                   and told her she was not good at all in terms of presentation skills (maybe better off-line vs. this forum?).
                   Apparently Cheryl Duckworth was the one that told her to “stop talking...this is a one way conversation.” | hignly
                   doubt that was the exact phrase and again think it might nave been more of an effort to force Gigi to listen
                   more.

              3)    No one is giving her credit for her experience as a PM. Not quite sure what is meant by this, other than Gigi feels
                   like she has to keep proving herself and people are skeptical of her skill. | told Gregg | was completely fine with
                   that piece of the story. Everyone has to build/engender confidence and trust. Just because he had a book of
                   business before he had to go through the same process of gaining visibility and confidence --- can’t rest on the
                   past, particularly when it happened at another firm. Same with Enderlein, or Philip Fan, etc....needs to be more
                   resilience here on the part of Gigi and more willingness to prove herself from the ground up. Just my view. But |
                   think that is a reasonable message for her. She kept telling me in HK that “she has done this before” in terms of
                   her readiness for China Growth. I told her that doesn’t matter much, she is still going to have to prove herself to
                   otner investors and GRG before she has any momentum; so maybe | contributed to this problem!!

              4)   She has broken down with Gregg a few times, very disappointed and down. Gregg said he is happy to call Bo
                   and/or Jun and get their side of the story (stories), but asked for Erin’s guidance and any help we collectively
                   could give. He would rather not “deal with what is becoming an HR/personnel headache.” | told him that is
                   largely why we are here, so seems like we need to get on this quickly.

        Again, probably old information for all of you, but the first time | heard it so thought it was worth bringing up. Seems
        time sensitive and important for a number of constituents.
        Terry


        From: Argyle, Charles
        Sent: Thursday, October 01, 2015 12:16 PM
        To: Swords, Brendan J.; Burgess, Terrence M.
        Cc: Baxter, Thomas W.
        Subject: RE: Caught up with Jun last night for dinner in Tokyo




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        Thanks for doing that. Completely agreed with respect to China Contrarian. As per my note earlier this week, this and
        China Growth (Chan) are very much on the list.

        Tom: one thought would be to create a single China Cap App approach with underlying sleeves/composites: Oh/Chan/Bo
        and even possibly A-shares.


        From: Swords, Brendan J.
        Sent: Thursday, October 01, 2015 1:16 AM
        To: Argyle, Charles; Burgess, Terrence M.
        Subject: Caught up with Jun last night for dinner in Tokyo

        Even though he has been through a rough 12-18 months of performance, he is feeling good about the team and
        reflective about his own lessons learned on sizing and timing. He also mentioned China Contrarian, which I think is a
        good idea. | like the timing and would love to get going. (One person’s humble opinion).

        WMClinternal




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        From:                    Burgess, Terrence M. [TMBurgess@wellington.com]
        Sent:                    Friday, October 16, 2015 9:43:13 AM
        To:                      Mattiko, Gregory A.
        Subject:                 GC

        Hi Greg —


        Just wanted to follow up re our conversation about Gigi. | did have a meeting with Charles and raised some of the issues.
        Generally speaking | would say he had the same reaction that | did, which can be summed up as:

              1)   Concern over resiliency (lack of) and entitlement (building a book comes easy) and humility (OK to take
                   feedback, none of us have it figured out), He worries, as you expressed, if we want to jump into a portfolio just
                   yet based on some of these red flags
              2)   Overall things have gone pretty well for Gigi and we should reinforce that; seems this is the first bump in the
                   road and we need to figure out what is causing her to feel so anxious. Hong Kong? No portfolio? Too much
                   challenge? — the latter would be a tough one, as Wellington is built on that.
              3)   There is work to be done on both sides. Some combination of conversations from people that she trusts to get
                   at the root of the issue, and he is happy to follow up with all of the players involved given that he knows Jun, Bo,
                   and is getting to know Gigi; and that he has ultimate say on many of these things and might be able to provide
                   reassurance.
              4)    Most importantly he and | share the sentiment that we need to help shield you from some of this. The concern
                   (part of point 1) is that perhaps this is simply her personality and it’s an ongoing issue. That would drain a lot of
                   your time and mind-share, along with lots of others, unless we can unlock the true causes of anxiety that may or
                   may not have easy fixes.
              5)   At the very least more people need to reach out and try to be part of the solution, not the problem; in HK in
                   particular.

        Bottom line is that he will likely reach out to you but he has the back story, so that you don’t have to tell it to 10
        different people. He also very much appreciates your balance on the issue, and your “partner-like” reaction to it ---
        wanting to do the right thing by Gigi but also the firm and ultimately clients.

        We are on it — | hope we can get to a better place and maybe eliminate some of the red flags/concerns, on both sides!

        Thanks for reaching out
        Have a great weekend — how many miles this weekend? 20?
        Terry




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       From:                      Baxter, Thomas W. [twbaxter@wellington.com]
        Sent:                     Thursday, October 15, 2015 6:49:05 AM
        To:                       Argyle, Charles
        Subject:                  Quick update


       I'm on holiday next week. For once it seems mid-term break is coming at a time that doesn't conflict with a YE deadline.
       Hope that means I'll be able to relax and surf better than last year. A few things to catch you up on from this week:


              •   I had a lengthy convo with Gigi, mostly listening. She's sort of on a war footing these days, and I have very
                  strong doubts whether we can turn her around. She feels "attacked" and "belittled" and "disrespected" and
                  believes that Jun, Bo and Steve feel threatened by her. She gave as examples the Jun P&P commentary and a
                  brief episode where she was huddling with April Wong on trip logistics and Steve Richter interrupted with an
                  admin task for April to do for him. Would having her run a portfolio mollify these feelings? On some level yes.
                  But on a deeper level the picture I'm forming is of someone who does not have a growth mindset (despite the
                  growth investment philosophy). I tried to remind her that one of the reasons she chose to join us was the
                  opportunity to work with other investors and make herself a better investor through that interaction. That was
                  met with only a vague acknowledgement. The entire conversation can be summed up by our final exchange
                  where I said something along the lines of "the P&P feedback was directed at you so naturally your reaction to it
                  is the most germane. But I was in the room too and I've worked with Jun for a long time. I can't speak for him
                  but I believe that his comments were meant to be constructive and to make you better" to which she said,
                  "That's exactly my point. If that's him trying to be constructive, than it's clear that he disrespects me." There's a
                  lot more, but my enthusiasm to creatively look for China Growth seed funding is waning. I'll let the waves wash
                  over me next week in Sri Lanka and hope to come back with a fresh perspective on this one.
              •




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              •




              •

       Tom




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        From:                Argyle, Charles [cargyle@wellington.com]
        Sent:                Friday, October 16, 2015 2:36:09 PM
        To:                  Baxter, Thomas W.; Burgess, Terrence M.; Murphy, Erin K.
        cc:                  Philip, Henry
        Subject:             Gigi

        We have all been spending time on this one and are pretty much all in the loop (I think) so just a couple of lines. | spoke
         to Greg Mattiko yesterday, who is somewhere between irritated (not with us), concerned and exacerbated. He
        completely recognizes he has only heard one side of the story, and shares our common frustration (I believe) with
        respect to the apparent hubris, impatience, and lack of willingness to embrace feedback — though he did speculate that
        the hubris might be more defensiveness than anything else. But what is most important is that he has very little appetite
        for there being any drama on his team.

        Here’s how we left it. He will be in HK in about 3 weeks for the client summit. He plans to ask Jun, Bo and Steve for help
        in assimilating Gigi, but will importantly also ask for feedback and listen carefully. He will obviously also spend time with
        Gigi then — amongst other things | asked him to ask her how content she would be if she was still just managing seed
        capital 12-18 months after China Growth funded — | think this is one of the key considerations (but not the only one} —
        she has to understand the reality of this and cannot be complaining if this is where we are. But even more importantly,
        his time with Gigi will provide critical perspective in the mosaic of all we have to consider — he is very open minded to all
        eventual outcomes and we will regroup soon thereafter. | did share with him that | have seen a few similar situations in
        the group over the years, and it’s hard to think of an example where it has ended well — he totally understands.

        Just making sure we are all on the same page.

        Charles




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        From:                   Mattiko, Gregory A. [GAMattiko@wellington.com]
        Sent:                   Friday, November 27, 2015 7:28:04 AM
        To:                     Argyle, Charles
        Subject:                Gigi Thoughts

        Hi Charles,


        Hope you had some turkey yesterday.       If so, we have done the complete role reversal as the Yank here going out for
        Korean BBQ last night and you the Brit having Turkey on the qth Thursday in November.

        Gigi has been here all week. As you know, she is in Boston all of next week. | have spent some time with her over the
        last couple of days and have a few further observations. As you might anticipate it remains quite a fluid situation.

        First off, | had a good long talk with Kenny Wednesday. As you know, he spent some time with Gigi while in HK. In
        short he claims to be a big fan of Gigi and thinks that Wellington should do everything they can to keep a talented
        investor like her. He sees the same talent and potential in her that | think you and | do. He also recognises that to come
        in to Wellington as an investor, a female, in Asia that the odds are not stacked in her favour necessarily and we need to
        have sympathy with how hard it must be for her to make it work at wellington. Once again, | think you and | would
        agree with this in principal. He also notes that she is a high-strung individual and this does not necessarily work in her
        favour. He told me he would convey his thoughts to you himself, but | thought I’d mention it in case you didn’t get a
        chance to touch base with him.

        | had another (emotional) encounter with her this week. Essentially, what | wanted to get across to her is that she is
        highly valued at the firm and that we all want her to succeed, and | am at the top of that list. | also wanted to get across
        to her that the process of launching a fund and having it seeded will take an indefinite amount of time. She needs to be
        patient. | also said to her that | worry a lot about her emotional wellbeing, and because we don’t know how long it will
        be until she has a product that we need to have a strategy in place to make sure her sanity remains intact while this
        process goes on.

        | must admit that | am frustrated by a lack of “can do” attitude. She still seems to want to blame her (perceived)
        misfortunes on the firm and does not seem to have much in the way of patience. She gets set off by what | would think
        are the smallest things. For example, this week’s drama centred around her learning that Jun Oh is launching a China
        Contrarian fund. She somehow sees this as a terrible outcome because she feels that there is a high risk that Wellington
        will determine that we have too many China products being launched in a short window and that hers will be
        sidelined/delayed. Perhaps more disturbing, she also believes that Jun Oh is launching this strategy in some way to spite
        or block Gigi in particular. | pushed back on this asking if she genuinely thinks that Jun has nothing better to do than to
        plot against Gigi and she still seemed convinced that it is a distinct possibility. | have a hard time deciding if this is just
        the irrationality of raw emotion rearing its head, or the basis of a dangerous mindset. I’m sure she feels that she has
        told me this in confidence, so | wouldn’t expect you to do anything with this information. | simply feel it is a relevant
        piece to the puzzle.

        The other thing that she remains adamant about is the need for an office in HK. She claims that she is one of the better
        communicators in the HK office amongst the people she works near, and that if she were to have an office she would
        not just run and hide in it. I told her that Kenny had told me that he told off Bo for spending too much time in her office
        and that she should get out and speak to the team more. | told her again that | thought that the prospect of her getting
        an office is low, as we are trying to move away from it in HK. You just need to be aware that she has convinced herself
        that having an office is a cornerstone of the remedy for her woes in HK.

        Her latest posture is that she is looking for Wellington to provide her a few things. First, she doesn’t want any more
        delays in launching a China Growth strategy. Second, she wants an office. She is also concerned about Wellington’s
        commitment to growing our China presence in general. She keeps coming up with the threat that if any of these things




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        don’t work in the way that she deems sufficient enough that there are plenty of other firms out there willing to hire
        someone like her.

        Although | tell her that |am her number one fan, | will admit to you that my enthusiasm is beginning to wane. | know it
        has been difficult for her but the lack of humility, tenacity, optimism and thankfulness is beginning to take its toll on me.
          | am still convinced that she is an excellent investor and | think she will resonate with the clients. The hard part for us is
        figuring out if her attitude is something that will shift in time as things settle down or a permanent feature we will be
        stuck dealing with for as long as she’s here.

        lam around all next week to discuss if you like.

        Greg




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        From:                                   Chan, Gigi [GChan@wellington.com]
        Sent:                                   Sunday, October 23, 2016 7:08:54 PM
        To:                                     Mattiko, Gregory A.
        Subject:                                Re: November 8-10
        Attachments:                            image001.jpg

        Oh and I can't make dinner on 9th either as I just saw I have a pre natal class...!

        On 23 Oct 2016, at 7:00 PM, Mattiko, Gregory A. <GAMattiko@wellington.com> wrote:

                Hi Rich,


                All of the options below work fine for me.

                My preference would be to have meetings Wednesday afternoon then go to dinner. As of now, that week
                is looking reasonably free so if you decide you would like one of the other options below then | can easily
                accommodate as well.

                Looking forward to hosting you guys here in my new hometown.          Are there any dietary requests?

                BTW — the 20-20 trip to India was good.      Will tell you about it when you get here.

                Regards,
                Greg


                From: Pender, Rich [mailto:penderr@hhmi.org]
                Sent: Saturday, October 22, 2016 1:30 AM
                To: Mattiko, Gregory A.; Chan, Gigi
                Cc: Watts, Kyle
                Subject: November 8-10

                Guys — we’re starting to ink in the schedule, and want to make sure we have prime slots for Wellington,
                and also to take advantage of your gracious offer to host Kyle (Watts) and I for dinner. We’ll get to the
                Grand Hyatt in HK at around 4 PM on Tuesday, November 8.

                | have several suggests if they fit your schedule — otherwise, suggest away and we’ll make sure to carve out
                the time slots. We want to make sure we have a couple hours for portfolio review with you, and an hour or
                so with Gigi discussing her new Asia-only effort:

                Dinner on 11/8, meetings to start the morning of 11/9
                Dinner on 11/9, meetings to start the morning of 11/10

                Meetings starting at around 2 PM on Wednesday 11/9, followed by dinner



                We know you’re probably shut down due to the typhoon (actually, it’s the middle of the night there, so
                scratch that). But the sooner you can get back to us, the sooner we can schedule our other meetings
                around our Wellington visits. I'll be in early on Monday morning Eastern Time as usual if it helps to talk
                directly, given the time zone differences.

                Rich




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               Rich

               Richard A.       Pender,     CFA




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               <image001.jpg>
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        From:                                         Pender, Rich [penderr@hhmi.org]
        Sent:                                         Thursday, September 29, 2016 1:00:50 PM
        To:                                           Thors, Lisa
        cc:                                           'Mattiko, Gregory A.'; Watts, Kyle
        Subject:                                      Hong Kong in November
        Importance:                                   High
        Attachments:                                  image001.jpg

        Lisa/Greg a€” l4€™m planning on being in Beijing on Monday November 7, and then moving on to Hong Kong on
        Tuesday for a couple days. | definitely want to visit with Greg at his new digs, and also touch base with Gigi and hear
        about her new effort. We (myself and one of our analysts, Kyle Watts) havena€™t scheduled the travel between Beijing
        and HK yet, and wanted to check in to determine the most convenient timing 4a€“ we could fly early on Tuesday morning,
        and meet with Greg and Gigi later that day. Or, we could just schedule them on Wednesday or Thursday morning, if
        thataé€™s more convenient. Guidance would be appreciated 4€“ | like td ™©9 ast reserve flights early, so that we
        dona€™t end up being forced into a certain schedule based on whatsea ast et

        Thanks.    Rich




        Rich

        Richard     A. Pender,       CFA



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        WELLINGTON       MANAGEMENT       COMPANY     LLP




                                                                                                           WELLINGTON
                                                                                                           MANAGEMENT
        Memorandum

        TO:            Fund Approval Committee
        FROM:          Liz Hogbin, Charles Argyle & Tom Baxter
        RE:            Rationale/Business Case for China Growth UCITS fund
        DATE:          February 23, 2016




        EXECUTIVE SUMMARY
        We are seeking approval to create a UCITS fund to incubate and market (initially, limited marketing, and, over time, broad
        marketing) the China Growth strategy managed by Gigi Chan.

        We think this pool will succeed because:
        e  Given the size of China’s economy and stock market, the level of GDP growth (albeit slowing from a much higher
           base), the (gradual, sometimes two steps back/one step forward) reform agenda and the potential increase in the
           country’s representation in market indices over time, China should be of interest to clients and prospects over the
           long-term
        e  The strategy is managed by a seasoned portfolio manager with a strong track record of managing an identical
           strategy at her previous firm; most of her former clients were ex-US (Europe and Latam)
        e  China equity is a large category, with $51.5B in assets under management, 105 products (up from 66 in 2012) and
              underperforming     competitors:   11% of AUM   are in China strategies with negative 3 year alpha; UCITS   China funds
              account for $31B
        e     Despite the size of the market and the category, Wellington     Management    Funds (Global) has no China strategies in
              its line-up today


        BACKGROUND/POSITIONING
        Clients are increasingly interested in regional and country Emerging Markets approaches, in addition to Global Emerging
        Markets approaches.        In part, this interest stems from a desire to have more targeted Emerging   Markets exposure during
        times of heightened volatility and also from a concern among some that the GEM universe is too unwieldy for a single
        individual or team to cover.     In addition, China is the largest stock market in EM and will likely eventually account for more
        than 37% of the EM index.       Given this, many clients are considering or already have dedicated allocations to this country.

        Gigi Chan is the lead Portfolio    Manager, drawing on the broader resources of the Firm (both GEPM and GIR) for support.
        The approach will be identical     to the China Opportunities fund approach managed by Gigi at her previous firm, except for
        the investment resources now       available to her. As background, Gigi has been analyzing Chinese stocks since 2000,
        started as a Portfolio Manager      (Asia ex-Japan) in 2004 and launched the Threadneedle China Opportunities fund (a
        public mutual fund) in 2007.

        This approach is a concentrated (30-60 stocks), high active share (85%+) China all shares long-only equity strategy. This
        is a fundamental growth strategy, with top-down theme selection and bottom-up stock-picking. The approach invests in
        H-shares, A-shares and US-listed Chinese companies. The approach plans to access the A-share market via both the
        Connect program and also potentially access products. While A-share exposure should be <10% of the portfolio at
        inception, this exposure will likely increase over time. Access product exposure will be limited to less than 10% of the
        portfolio, in compliance with UCITS guidelines.




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        Memorandum
        July 2014



        For the proposed fund, our target market is institutional and GWM         clients, primarily located in Europe and Latin America.
        This is consistent with the client base of Gigi’s previous fund.


        PRODUCT AND STRUCTURING                   CONSIDERATIONS
        The capacity of this strategy is estimated to be $2 Billion. The primary constraint on capacity is moratorium for smaller
        and mid-capitalization names. Some of these names are held in common with EMO and others are not. For instance, at
        $2B, 3 names approach moratorium (2 held in common with EMO and 1 not). We also looked at the impact on EMC’s
        liquidity assuming China Growth were at $2Billion. Even with EMO at $3Billion and China Growth at $2B, the liquidity
        differences were marginal and within the tolerances previously described to EMO clients. (For reference, there is
        approximately 55% asset and 35% name overlap with EMO’s China holdings as of Dec 31, 2015.)

        The rationale for the proposed structure for this fund (UCITS) is that Gigi’s previous fund was a UCITS fund. In addition,
        there is significant China equity AUM in UCITS funds (see market data below for further detail). Finally, launching a
        UCITS China Growth fund, targeted at non-US clients and prospects, would provide a complement to the China A-shares
        Cayman pool, targeted at US clients and prospects.

        There are currently no other China UCITS funds in the Wellington Fund line-up.          However, should one or more of the
        existing China strategies eventually launch in UCITS form, China Growth would be differentiated from those offerings.


        As background,    there is ample room for multiple Wellington approaches in the Chinese equity market, given that China
        now has more listed stocks than the US.     China Growth is the fourth China long-only approach at Wellington, the second
        strategy to be approved for marketing and, subject to approval, the firm’s first China UCITS fund.         (To put four China
        strategies in context, consider that JP Morgan has 12 China strategies, with $4.5B in AUM).           China Opportunities and
        China A-shares are strategies managed      by Bo Meunier.     China Contrarian is managed        by Jun Oh and was recently
        approved by the Product Panel for incubation.     China Growth is distinct from all of these approaches in terms of
        opportunity set and style (please see table below for comparison).


        Approach                     China Growth             China A-shares                    China              China Contrarian
                                                                                           Opportunities
        Portfolio Manager                 Chan                      Meunier                    Meunier                     Oh
        Benchmark relative?                No                         No                         Yes                       No
        Number of holdings                30-60                      20-30                      50-80                    20-50
        Opportunity set           H-shares, A-shares          >85%     China A-            China H-shares         H-shares, A-shares
                                  B-shares, ADRs    and             shares                                        B-shares, ADRs    and
                                          GDRs                                                                           GDRs
        Access to A-share           Shanghai-Hong                    ROFI                        N/A                Shanghai-Hong
       market                     Kong Stock Connect                                                              Kong Stock Connect
                                        Program                                                                         Program
        Style                            Growth                 Quality value               Quality value              Contrarian




                                                                                                                                          [Page]




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        Memorandum
        July 2014



        MARKET      DATA
        There are $51.5B in assets under management in China Equity funds, according to Evestment.             The number of products
        in the category has almost doubled since 2012, from 66 to 105.       In addition, many competitors are underperforming:      11%
        of AUM are in China strategies with negative 3 year alpha.

        In terms of China Equity UCITS funds, there are $31B in assets under management, managed across more than 100
        funds. The top 5 funds range in size from $4.7B (Fidelity, largest) to $1.6B (GAM, 5” largest).


        GROWTH      POTENTIAL
        Based on feedback from GRG, we believe there is demand for this strategy and that the strategy could play a part in
        showcasing Wellington's broader China platform. In particular, Gigi’s strong track record managing an almost identical
        strategy at her previous firm should be compelling.


        TIMELINES
        The urgency to initiate a pool for this strategy is based on 1) launching a vehicle for non-US clients to access a Wellington
        China strategy (the China A-shares vehicle is targeted at US investors) 2) providing a growth opportunity for a talented
        investor and 3) broadening and globalizing Wellington Management Fund’s current offering.


        SEED CAPITAL (WMP ONLY)
        We are seeking seed capital of $1 million for this strategy.   The rationale for the seed capital is to start a track record while
        simultaneously beginning targeted marketing of the fund.       As soon as we can find a sizeable client to invest in the fund,
        this seed capital would be returned to the Firm.




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        From:           Hogbin, Elizabeth A [EAHogbin@wellington.com]
        Sent:           Tuesday, May 31, 2016 11:53:28 AM
        To:             Baxter, Thomas W.
        Subject:        FW: We should definitely find time to talk but I'm flat out starting at 11am (my time)

        Confidential feedback from our GRG session today...nave put time on your calendar to discuss.         Kind regards, Liz


        From: Weil, Andria H.
        Sent: Tuesday, May 31, 2016 2:20 PM
        To: Hogbin, Elizabeth A
        Subject: We should definitely find time to talk but I'm flat out starting at 11am (my time)

        She is absolutely not ready for client/consultant meetings. | have lots of feedback but first and foremost she needs to
        stop reading the pages to her audience. The information she is conveying should not be written on the page but should
        bring to life the words that are the page. She is the portfolio manager and the consultant or client needs to buy her.
        Her unique insight, passion for China, passion for investing.

        l asked her about a stock that wasn’t her example because | actually wanted to hear her talk about a stock, her
        interactions with management, what she finds unique enough to be one of 30 in her portfolio. I’m sure you know all of
        this.

        Quick poll: Unlikely that any of us would take her on the road if she presented like that to a client/consultant.     Happy to
        help if | can but there is a lot of work needed on this one.

        Andria


        Andria H Weil
        Managing Director
        Wellington Management
        280 Congress Street, Boston,   Massachusetts   02210   USA
        Phone: (617) 790-7106
        Fax: (617) 204-7106
        Email: ahweil@wellington.com

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        From:                   Hogbin, Elizabeth A [EAHogbin @wellington.com]
        Sent:                   Friday, June 10, 2016 8:17:03 AM
        To:                     Argyle, Charles; Baxter, Thomas W.
        Subject:                RE: Update on Gigi

        Just an update after speaking with Gigi today (yesterday was a holiday in HK). She is frustrated regarding not getting
        meetings and slightly in denial about her presentation skills. She believes that she didn’t appropriately understand the
        briefs of these internal conversations (“I thought they wanted to know what my product was rather than how | would
        present it”) and has been criticised for responding to feedback e.g. Product Messaging Panel told her to “speak more to the
        page” so then she read verbatim a few of the pages and now is being criticised.

        | tried to give her the guidance below about creating success for next week’s meeting but it seemed difficult for her to
        absorb at this moment in time.

        | also mentioned that is very normal not to have meetings this early in your track record/Wellington tenure but that
        seemed frustrating to her as well.

        She then “had to go.”

        Sorry not to report better news.


        From: Hogbin, Elizabeth A
        Sent: Wednesday, June 08, 2016 11:44 AM
        To: Argyle, Charles; Baxter, Thomas W.
        Subject: Update on Gigi

        Both


        Just want to let you know that | am planning to speak with Gigi tomorrow to let her know that we have been unable to
        schedule any marketing meetings in the US or London/EMEA in June for China Growth. | expect she will be
        upset/surprised. | plan to convey that the reason for not being able to get marketing meetings is twofold:
             1) Limited demand for China strategies from our client base at this point in time, given the negative headlines etc.
             2) GRG perception that her presentation skills need some polishing before they are comfortable taking her on the
                 road

        As you may be aware, Gigi had Rogen presentation training this week. As previously scheduled, she is going to have a
        “Round 2 Dry Run” in Boston with key GRG folks (Morse, Weil, Tubman, Synnestvedt) on Wednesday of Investorpalooza
        week. Greg Mattiko and | are going to be there. [Charles: in case you have not heard, Round 1 Dry Run went poorly from a
        presentation skills/inspiring confidence in GRG perspective].

        | plan to give her this advice about the Round 2 meeting (please chime in if you feel otherwise):
              ®    Pretend that this is a 1-1 prospect meeting rather than anything else
              ®    Try to relax/get in a ready state of mind beforehand — | have a TED talk on this that Erin Murphy suggested that |
                  will forward her
              e    Start the meeting by acknowledging that her last presentation did not go as well as she had hoped and thanking
                  the group for their time
              ®    State that she is thinking about approaching this meeting as she would a 1-1 prospect meeting, trying to make it
                  conversational and encourage questions

        Any thoughts, guidance or advice you have would be extremely welcome!

        Kind regards, Liz




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        From:                    Hynes, Jean M. [Imhynes@wellington.com]
        Sent:                    Monday, July 11, 2016 7:18:16 PM
        To:                      Swords, Brendan J.; Perelmuter, Phillip H.
        Subject:                 London thoughts

        Here is the feedback from my week in London — I have bolded some highlights.




     Redacted


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    Redacted



        Greg Mattiko
        Wellington has Worked out excellent for Philip - big boost for him. Philips has a tendency to take risk -needs more




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        observation - more rope. Come across a lot of micro-cap stocks - carve out portfolio - $100-200 mm portfolio. Go to
        clients. London office. When he gets to HK, he will focus on an MNPI compliance ethos. Gigi - she has gotten better
        since product is approved. GRG promised her meetings after investor palooza — but in the end it didn’t happen b/c she
        didn't present well. She thinks Wellington has not respected her and not given her a fair chance. When she presents
        internally, it is almost acrimonious. The irony is that she is wonderful with his clients and consultants. Andria Weil,
        Tubman, Lee Cohen. Need to get her to take the long view. She is a good investor, thorough, passionate. Really looking
        forward to going out there. Wellington could benefit from more EM investors - keep feeding those strategies to HR.
        Relies on Rob Wydenbach, Rebecca Sykes, Ann G, Anita, Tommy. Anita and Tommy are less valuation focused.
        DeRedacted and YoRedacted results have not been as good. Analyzing banks all macro. YoRedactedoesn't cover as much
        that he would be interested in - Latin America - tend to rely more on JRedacted EE too small. More time for how J
                                                                                                                                       Redacted



        invests. Doesn't know well enough how Mur                 invests — shotgun approach - a lot mot shori term positions - short term
                                                       Redacted



        catalysts - different from Greg. Would he be good in a non-momentum environment, less bifurcation environment? But
        still he is one of the better one's in industry. More conviction with J                J    PaRedactedrespect for how he analyzes
                                                                                         Redacted
                                                                                      Redacted


        companies and Da i            likes how he thinks even though he has gotten a few things wrong. Rely on process over
                           Redacted
                                Redacted
                                    Redacted



        outcome. Avoid energy. Ni              nd team are a good source. CaRedacted GRedacteds very good. Coming into her own. Great
                                      Redacted


        attitude. Work a lot with fixed income. Te               i - have a hard time integrating into Wellington dialog. Make sure he
                                                        Redacted  Redacted



        keeps his voice.




     Redacted


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     Redacted
        Liz Hogbin
        EM practice group - 19 strategies - Greg, JRedacted (she does LATAM, Aragau), Gigi with her China group, Greg and
        Philip. EMRE and EMSE. EM - more interest - uptick in
        client conversations - beginning to see conversations and uptick in allocations in global managers. Weight is 11% in
        Global AQWI - beginning to close underweight. Aberdeen
        is having struggles b/c firm, Vontobel -PM has left but they have not stumbled yet. Why did he leave - he wanted to be a
        star. $35 bb. Greg $3-5 bb - he is glad $3 bb -
        feels liquidity. China equity is $50 bb as a category - some replacement opportunity. Average dedicated EM manager is
        underweight China. Kent has
        suggested putting Gigi, Jun and Bo together. China A is the most commercial potential short term. 40% of clients will
        visit HK a year - 60% through London - will VC. 30 big
        clients. US trip - move it closer to P&MD. AlRedacted s working with her++ Adnan portfolio specialist spending time in
        Boston. Murali launching an India strategy. New WMF will                                Redacted

        be a huge positive -much more efficient. Will make organization more accountable. Er          working - she is fantastic,
        enables people well, listens well, thinks about
        contributing to the team. Realize a night and day difference. To make it concrete — she joined 3 years ago - structurally
        covered PMs in the office but didn't help GRG. Er
                                                           Redacted



        had her write a plan and present to R    Before there was a barrier to implement it even though nodding and
                                             Redacted

        agreement - Er gets it done. The former leader would email 10x
                       Redacted



        a year and 9 were about ESG that was tangential Er         communicates a lot and sends practical, real everyday
                                                            Redacted



        things that can help (GRG new structure was one such email). One of the things she likes that Phil is doing is
        community. Newsletter, random lunches. Given sped of growth. Open plan - ease of teaming - really. Greg was a polished
        presenter. J
                      Redacted

                                                                                                                               Redacted
       Redacted
                was less - experience - she has been able to apply everything she learned from Greg to guide him. She thinks J
        can grow - stepping into EM is key - needs enough track record.
        Ru          gave them a warm B.
         Redacted




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    Redacted


        Jean Hynes




   Redacted
        From: Hynes, Jean M.




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        Sent: Thursday, June 30, 2016 11:32 AM
        To: Swords, Brendan J.; Perelmuter, Phillip H.
        Subject: RE: Thank you

        Yes, I will have Melissa send it to Katherine

        Jean Hynes
        Wellington Management Co LLP
        280 Congress Street,
        Boston, MA     02210
        imhynes@wellington.com
        617-951-5574


        From: Swords, Brendan J.
        Sent: Thursday, June 30, 2016 4:29 PM
        To: Hynes, Jean M.; Perelmuter, Phillip H.
        Subject: RE: Thank you

        Can you send me your schedule, so | see whom you met with. Thx.

        WMcCinternal


        From: Hynes, Jean M.
        Sent: Thursday, June 30, 2016 10:50 AM
        To: Perelmuter, Phillip H.; Swords, Brendan J.
        Subject: FW: Thank you




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        From:        Qian, Feng (Alex) [FQian@wellington.com]
        Sent:        Tuesday, September 20, 2016 3:54:33 AM
        To:          Hogbin, Elizabeth A
        cc:          kyu@wellington.com;     REHelfer@wellington.com; twbaxter@wellington.com;
                     FQian@wellington.com; YYang@wellington.com; NNg@wellington.com; FChen@wellington.com;
                     JeKong@wellington.com;     KYeung@wellington.com;       RYang@wellington.com;
                     SWYim@wellington.com;      Chan, Gigi; #GRG - China Dedicated Team; Brooks, Philip A.; Yeong,
                     Brian; Curley, Jaclyn; Davies, Kate M; Pouillart, Cedric R.; Lim, Belinda
        Subject:     Re: Potential Hong Kong Equity mandate from China

        Gigi, Liz, & all,

        I wanted to report that I visited      Redacted          lhanghai headquarters for further discussion about this
        opportunity. I am pleased to share with you that the prospect likes our China Growth approach and Gigi's past
        investment success. They have tentatively decided to hire us as their investment advisor for this mandate, to be
        formally approved by their investment committee shortly (which is a required procedure). Well done, Gigi!

        We have just received the draft investment advisory agreement and related documents for review and comment.
        Sally 1s working with Fiona for English translation, which will be presented to legal for review.

        There is also one particular detail that I learned this morning: due to the unique structure of the Connect
        program, the portfolio assets actually stay onshore. As a result, the client will have to trade the portfolio
        themselves, following the instruction from Gigi. (Cedric, Belinda, can you please confirm?) the client actually
        is keen to give us the portfolio for full-discretionary management. But they don't think they will be able to get
        the assets offshore, hence the advisory model, instead of sub-advisory.

        We also have a few follow-up items including:

        l/ Prepare a revised model portfolio that only invests in stocks covered under the Connect program;

        2. Prepare our standard investment guideline for China Growth strategy;

        3/ Prepare firm introduction and strategy description materials in Chinese to support }) Redacte marketing.

        They also expect that Gigi and other Wellington colleagues will present to selected roadshows and client
        meetings for their marketing efforts. This can be a fast-moving opportunity, with fund-raising in
        November/December at the earliest.

        Sally, Fan Liang, and I look forward to working closcly with Gigi, Liz and other colleagues towards successful
        closure of this opportunity.

        We will reach out to you separately for more detailed discussions and follow-ups.

        Thanks,

        Alex

        On Sep 14, 2016, at 4:36 PM, Hogbin, Elizabeth A <EAHogbin@wellington.com> wrote:

                Copying Brian Yeong as well, as he works with me on this strategy.




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               Alex

               Thanks for your message.      This does indeed sound like something that would be potentially
               appropriate for Gigi to manage.         Would they invest in H-shares, as well as A-shares?   What about
               Chinese companies that are US listed? If they are open to all 3, China Growth sounds like a good
               option; if not, some variant/customised version of China Growth. Also, are they ok with having a
               growth tilt to the portfolio?

               Please let us know what you need to proceed. The marketing generic is on the portal and Jackie
               Curley can provide the pages with Gigi's historic track record (and the rules for sharing that with
               this prospect).

               Kind regards, Liz

               PS: Jackie/Kate when will an updated marketing generic be available? Assume next quarter?

               ----- Original Message-----
               From: Qian, Feng (Alex)
               Sent: Wednesday, September 14, 2016 9:20 AM
               To: Hogbin, Elizabeth A
               Cc: Chan, Gigi; #GRG - China Dedicated Team; Brooks, Philip A.
               Subject: Potential Hong Kong Equity mandate from China

               Hi Liz,

               We     have   recei     ll    earlier       from    our pr       hanghai-                 Redacted           |
                                                   Redacted                                      |They currently manage
               third party asset totaling | Redacted hh, for mid- and small-size insurance companies in China.
               Currently all such assets are invested in China's domestic market.

               With the recent development in Shenzhen-Hong Kong Connect, they want to launch a new product
               to be marketed to their insurance clients. The new product will invest in HK stocks under the
               Shanghai-HK and Shenzhen-HK Connect program. To Wellington, this will be a separate account
               sub-advised portfolio with full investment discretion including trading. This will be a total return
               portfolio (not a benchmark-relative mandate). Given Gigi's success in managing similar funds
               before, and her interest in taking on such an assignment, I therefore thought she might be a good
               investor for this opportunity.

               I'd appreciate if you can confirm China Growth approach (or a customized version) would be
               appropriate for this opportunity. I'm traveling and have not had a chance to review the track record
               information and marketing generic. Sally Yim from our China team may reach out to you for
               assistance when needed.

               Thank you for your attention. Let us know if any questions.

               Best regards,

               Alex
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        From:                          Mattiko, Gregory A. [GAMattiko@wellington.com]
        Sent:                          Tuesday, June 28, 2016 5:24:24 AM
        To:                            Argyle, Charles
        Subject:                       RE: Hi Charles - Gigi update

        Thanks for the feedback. Gigi had          mentioned to me that it played out exactly as you described below, but from both Erin and Liz the
        word is that GRG took it the other         way. Sounds like we have a simple miscommunication/misperception issue. Gigi is out sick again
        today. When | do speak with her          I will take your advice and just have a positive chat with her about commitment and try to set
        expectations on how long it might          take. Thankfully it is only a little over a month before | land in HK, so hopefully things go
        smoother from then on.


        From: Argyle, Charles
        Sent: Tuesday, June 28, 2016 1:03 AM
        To: Mattiko, Gregory A.
        Ce: Argyle, Charles
        Subject: Re: Hi Charles - Gigi update

        Thanks Greg. | think | was in this meeting and believe there may be an over reaction from           GRG this time - my understanding of the
        context was that she gets inbound calls from head hunters about taking over other funds             and therefore there is presumably
        potential personnel turnover at other firms that we could take advantage of. | really don't          think the inference was meant to be that
        she is a "leaver" (unless this was in a separate meeting). GRG should not be surprised that          our investors get calls - | am sure it
        happens all the time!

        Perhaps check with Liz for her perspective too. Given Gigi's tendency to over react | would tread lightly here. That said, #2 is the key
        question that we should all know the answer to, as clearly there is a perspective that she is not "all in". On #3 | am happy to follow
        up with GRG if need be.

        Sent from my iPhone

        On Jun 27, 2016, at 10:18 AM, Mattiko, Gregory A. <GAMattiko@wellington.com> wrote:

                Morning.       Hope you had a nice weekend.

                Caught up with Erin this morning.        One of the things we spoke about was the latest chapter in the Gigi saga.

                Apparently, as part of her GRG presentation the other week she mentioned that she was speaking with headhunters.
                I’m sure you either heard this first hand or someone has told you. To me, this is not a surprise. But for GRG apparently
                this was an important declaration that sets back her marketing campaign even more as nobody wants to risk taking a
                “leaver” around to clients. | can understand this. | can also understand that Gigi probably made her comment out of a
                combination of frustration and insecurity.

                Either way, | feel compelled to head this one off at the pass.       Gigi is here this week (though she is off sick today).   |
                wanted to address a few things with her:

                       1.     Let her know that her choice to mention that she was being recruited in that forum has set her marketing
                             effort back.
                       2.     Ask her if she is genuinely interested in staying. | will also let her know that if she stays she should expect that
                             raising money may take a long time.
                       3.     That if she intends on staying that the best way to accelerate the marketing process would be for her to go
                             back to key people who attended that meeting and explain herself and why she are committed to making this
                             work.

                Wanted to check with you before | had this conversation.          Let me know if you object or would like to handle in a
                different way.

                Greg




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        From:                   Hogbin, Elizabeth A [EAHogbin@wellington.com]
        Sent:                   Monday, June 20, 2016 8:24:54 AM
        To:                     Zinter, Anne K; Baxter, Thomas W.
        cc:                     Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject:                RE: Presentation Skills - Hong Kong investor

        Anne


        Thanks for reaching out. We had the session last Wednesday with Charles Argyle and the 4 GRG folks from before (Amy
        Morse, Jed Syn., Andrew Tubman, Andria Weil). | will get some feedback from GRG on Friday.

        My observation was that the presentation was smoother/more natural than previous versions with fewer umm’s/ya
        know’s. However, she did get wordy/scattered a few times. Separately, | think GRG will say they need her to refine her
        message more e.g. what’s your edge? before engaging broadly with clients.

        Thanks for following up and | will pass on any specific comments | get later in the week.

        Best, Liz


        From: Zinter, Anne K
        Sent: Friday, June 17, 2016 9:51 PM
        To: Hogbin, Elizabeth A; Baxter, Thomas W.
        Cc: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject: RE: Presentation Skills - Hong Kong investor

        Hello All,
        Just checking in —is there any feedback on Gigi’s presentation at Investorpalooza that | can send to Scott Clark?

        Talk to you soon,
        Anne


        From: Zinter, Anne K
        Sent: Tuesday, June 07, 2016 10:07 AM
        To: Hogbin, Elizabeth A; Baxter, Thomas W.
        Cc: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject: RE: Presentation Skills - Hong Kong investor

        Hello all,
        i wanted to let you know that Gigi Chan and Scott Clark had their coaching session last night-

        Scott and | were    in touch this morning and he asked to hear any feedback on how Gigi comes across next week she is in
        Boston. He took     all of your context into consideration and helped her with streamlining her opening, setting up her
        background, and       her investment approach. He also mentioned that she tends to get wordy and scattered when nervous
        and they worked       on that quite a lot.

        Please let me know how it goes, and | will gladly pass the information on to Scott.

        Best wishes,
        Anne


        From: Zinter, Anne K




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        Sent: Wednesday, June 01, 2016 9:14 AM
        To: Hogbin, Elizabeth A; Baxter, Thomas W.
        Ce: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject: RE: Presentation Skills - Hong Kong investor

        Thank you, Liz and Tom.

        i will be sure that Scott receives the context that both of you have provided.
        Best,
        Anne


        From: Hogbin, Elizabeth A
        Sent: Wednesday, June 01, 2016 6:10 AM
        To: Baxter, Thomas W.; Zinter, Anne K
        Cc: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject: RE: Presentation Skills - Hong Kong investor

        Thanks Tom and Anne


        i would agree with what Tom has said and add the following points:
             ®   Don’t simply read the words on the page
             @®  Make eye contact with your audience
             e   Acknowledge and respond to their questions

        Agree with putting the presentation to one side and hitting on the points below (have added one additional point):
        1) quick background on self
        2) what the strategy is and why it is unique
        3) representative stock story or two — make it come alive e.g. how did you discover stock? Meetings with management,
        etc.?
        4) the case for China


        Kind regards, Liz _
        From: Baxter, Thomas W.
        Sent: Wednesday, June 01, 2016 10:55 AM
        To: Zinter, Anne K
        Cc: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G; Hogbin, Elizabeth A
        Subject: RE: Presentation Skills - Hong Kong investor

        Hi Anne —


        i don’t have Scott Clark’s email address so can you please pass on the following message to him? This will be consistent
        with the previous conversations I’ve had with Scott on Gigi (and will not come as a surprise to him either) but | did want
        to make sure the session is as successful as possible and keep it focused on how to best help her immediately on her
        hignest-need issues. We’d like the focus to be on:

                ®   Eliminate filler words: “um”, “you know”, etc. Very distracting to audience and the message gets lost.
                @   Slow way down
                ®   Be succinct
                ®   Get tothe point sooner
                ®    Focus ona conversational tone. Do not read bullet points verbatim. Do not say “if you turn to the next page ..
                    .” etc. In fact, Liz and | think Gigi will be most successful putting the presentation to one side and just having a
                    conversation focused on: 1) quick background on self, 2) representative stock story or two, 3) the case for
                    China. Wrap that all up in less than 10 minutes and simply invite questions/conversation.
                @    Greg Mattiko, and other investors who present well, often don’t open the book, and they do as much listening




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              as talking. That should be the goal.

        Thanks again for coordinating.       Liz (copied) may have more to add.

        Tom


        From: Zinter, Anne K
        Sent: Tuesday, May 31, 2016 7:41 PM
        To: Baxter, Thomas W.
        Ce: Murphy, Erin K.; Scordato, Christine A.; Kelley, Jessica G
        Subject: Re: Presentation Skills - Hong Kong investor

        Hello Tom,
        Thank you for confirming! | will schedule and manage this going forward.

        Enjoy the rest of your week,
        Anne

        On May 30, 2016, at 6:06 AM, Baxter, Thomas W. <twbaxter@wellington.com> wrote:

                       gth
                June         at 8PM Boston time works for Gigi. Thanks in advance for handling all the logistics.


                From: Zinter, Anne K
                Sent: Thursday, May 26, 2016 8:34 PM
                To: Baxter, Thomas W.; Murphy, Erin K.; Scordato, Christine A.
                Cc: Kelley, Jessica G
                Subject: RE: Presentation Skills - Hong Kong investor

                Thank you, Tom.
                i can manage and confirm all logistics with the vendor, provided that we can arrange for Gigi to meet with
                Scott Clark at 8 PM ET on either June 6 or 7 (June 7 or 8 at 8AM).

                Please let me know once you’ ve reached out.

                Best wishes,
                Anne


                From: Baxter, Thomas W.
                Sent: Thursday, May 26, 2016 12:27 AM
                To: Murphy, Erin K.; Scordato, Christine A.
                Cc: Kelley, Jessica G; Zinter, Anne K
                Subject: RE: Presentation Skills - Hong Kong investor

                Thanks, I will reach out and get that scheduled. | know the feedback was also consistent at the recent
                Wellington Institute presentation she delivered.


                From: Murphy, Erin K.
                Sent: Thursday, May 26, 2016 12:49 AM
                To: Scordato, Christine A.; Baxter, Thomas W.
                Cc: Kelley, Jessica G; Zinter, Anne K
                Subject: RE: Presentation Skills - Hong Kong investor

                Thanks Christine. Tom, by way of background, when Gigi went through Product Messaging, the feedback
                was almost entirely style vs substance.     Liz felt if we could get her more training before she goes in front of




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               clients, sne would   have the opportunity to make   a much   stronger first impression with both the clients and
               GRG. | tend to agree with her.

               From: Scordato, Christine A.
               Sent: Wednesday, May 25, 2016 4:34 PM
               To: Baxter, Thomas W.; Murphy, Erin K.
               Cc: Kelley, Jessica G; Zinter, Anne K
               Subject: FW: Presentation Skills - Hong Kong investor

               Hi Tom,


               We were asked to try to find time with Scott Clark to help Gigi hone her messaging and presentation prior
               to her marketing trip. Could you find out if the offered time below will work for her both in terms of her
               travel and when her meetings start?

               We would reach out to her directly but we are unsure if she has the context around why this is being
               offered.

               Thanks,


               C

               Christine
               Wi   Cinternal



               From: Zinter, Anne K
               Sent: Wednesday, May 25, 2016 3:53 PM
               To: Scordato, Christine A.; Kelley, Jessica G
               Subject: RE: Presentation Skills - Hong Kong investor

               Hi there,
               | checked and Scott is first available on June 6" or 7 at 8pm EST if that works for Gigi.

               Hopefully that works with her timeframe prior to Investorpalooza.
               Best,
               Anne




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        From:            Oh, Jun Y. UY¥Ch@wellington.com]
        Sent:            Wednesday, August 05, 2015 9:07:25 PM
        To:              Swords, Brendan J.; Argyle, Charles; Baxter, Thomas W.; Perumal, Janet
        Subject:         China Contrarian Fund

        Brendan, Charles, and Tom,


        | want to propose doing a China Contrarian Fund. This is the right time to start such a product due to the negative
        sentiment around China. Furthermore, it is clear now that MSCI will include China in the major indices over the next
        several years, and China will become its own equity asset class, similar to Japan.

        As a firm, Kent Stahl has mentioned that we have struggled to match the potential investor demand for Japan equity due
        to capacity constraints, and we had similar issue with EM equity before Greg Mattiko joined. | think it makes sense for
        Wellington build up a suite of China-dedicated funds in advance of the future potential demand.

        Of course, our team’s resource capacity is a concern, but already we spend a ton of time on Chinese equity, and this new
        product would in effect be a carve-out of the Chinese names in Asia ex-Japan Contrarian.

        As for funding, we can try tapping Wellington client base, but my guess is that interest will be muted due to all the
        concerns surrounding China and its economy. The other path we can take is convert the original Asia Contrarian fund,
        which started in 2008, into China Contrarian. The original fund has served its purpose in terms of building track records
        for the two sleeves — Japan Contrarian and Asia ex Japan Contrarian. | think there are only a handful of investors (few
        partners of the firm) in the fund so it might be easy to change the mandate.

        Please let me know your thoughts.




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        From:                     Mattiko, Gregory A. [GAMattiko@wellington.com]
        Sent:                     Thursday, September 01, 2016 2:38:40 AM
        To:                       Argyle, Charles
        Subject:                  A preview for you

        Hi Charles.

        Hope you are well.A | was a good boy and came in early this morning to do my dozens of 360 reviews.A            Obviously, | had
        to do one for Gigi.A Wanted to give you a preview of what | wrote:

        “Despite Gigi's leading understanding of all things related to the China market, she finds integrating into the Wellington
        culture difficult.A | used to be of the opinion this had to do with issues relating to the HK office, but now | am convinced
        that it has more to do with the lens through which Gigi views the firm and | believe the world in general.A Gigi, for some
        reason, believes that Wellington and the people who work here do not want her to succeed.A This attitude or pessimism
        prevents her from integrating into the Wellington culture.A | fear that unless she makes a 180 degree change and accepts
        the firm for what it is she will continue to be dissatisfied.A This is really unfortunate because Gigi herself is a very pleasant
        person and | enjoy working with her.A | also am convinced that she will add value for our clients.A But if her view of
        Wellington does not shift | don't know how long she will either be willing to say or will be tolerated by others.”

        I'm telling you this because | am off to Russia and China this evening for a while and it is fresh on my mind.A      | also
        wanted to give you a few updates of Gigi-related conversations | have had.

               Re      Jun Oh requested to speak with Tom and | earlier this week. He was disturbed/annoyed at the way Gigi treats
                   him in the last several months.A He wanted to know from me if | knew what was behind this.A | said all | know is
                   the run-in she had with him over a year ago at the now famous philosophy & process meeting.A He thinks her
                   attitude towards him (scowling, ignoring, etc.) is disruptive and unprofessional.A | agreed with him.
               SRe = | had a chat with Gigi to find out her plan during maternity leave and | asked her how things have been going
                   lately.A Perhaps | am too optimistic or just plain naA ve, but I thought just maybe since she has her fund and
                   some assets that she might flash a hint of optimism about the future.A A | was completely wrong. A She still
                   bangs on about how slow Wellington moves, that she doesn’t have access products yet, that GRG is ignoring her,
                   that her efforts are only benefitting Bo, etc., etc.A As is often the case it was quite an emotional discussion for
                   her.
               ‘Re     | then had a catch up with the new HR person, Karen.A Of course the subject of Gigi came up. A We discussed
                   strategy to help improve the situation.A She said she has been in contact with you.A A | offered to help in
                   whatever way | can.
               Re      | had acatch up with Ray Helfer yesterday.A He too was asking about the Gigi situation.A We discussed it at
                   some length.A He was kind enough to offer (as head of the office) to have a heart to heart with her about how
                   she is being perceived and the danger of continuing to go down the path she is on.AA He only suggested this
                   because he was unsure if you were going to be in HK in the coming months and we both thought it would be only
                   fair to her to get this message before she goes off on maternity leave (early December apparently).

        I think no matter what happens we are in a holding pattern until she comes back from maternity leave which | estimate to
        be mid-March. A You and | should also discuss what happens to her China growth strategy under various scenarios.A |
        have a few ideas in this regard.

        Hate to dump this stuff in your lap (yet again) | just wanted to keep you up to date on where we are.A        | think there is no
        urgency here, but we might as well start having some dialogue about how we want to progress.

        Greg




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